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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


FLORIDA STATE CONFERENCE OF
BRANCHES AND YOUTH UNITS OF
THE NAACP, et al.,

       Plaintiffs,

v.                                                      Case Nos.: 4:23-cv-215-MW-MAF
                                                                   4:23-cv-216-MW-MAF
                                                                   4:23-cv-218-MW-MAF

CORD BYRD, in his official capacity as
Florida Secretary of State, et al.,

     Defendants.
__________________________________/

                      THE SECRETARY’S WRITTEN CLOSING

       Defendant, Secretary of State Cord Byrd, provides this written closing,

presenting his arguments and responding to the most recent filings of the NAACP

Plaintiffs, Doc.304, 4:23-cv-215; the League Plaintiffs, Doc.301, 4:23-cv-216; and the

Hispanic Federation Plaintiffs, Doc.188, 4:23-cv-218.

       In this written closing, page numbers of docketed documents refer to the upper-

right, blue page numbers, and not the bottom-center, black page numbers. “PX” refers

to a Plaintiffs exhibit, and “DX” refers to a Defendants exhibit. “Tr.” refers to the trial

transcript and is usually followed by the witness who provided the referenced testimony.


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E.g., Tr.1175:13-16 (Slater). Similarly, references to the legislative transcripts—PX246,

PX248, PX250, PX252, PX254—identify the legislators or individuals who provided

the referenced statements. E.g., PX246 110:7-11 (Burgess). References to the NAACP

Plaintiffs’ written closing are identified as “NAACP Br.,” and the same convention is

applied to the other closings: “League Br.” and “Hispanic Federation Br.”

      For the reasons explained in this closing, this Court should reject Plaintiffs’

claims and enter judgment in favor of the Secretary.




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                                     Introduction

       As the trial showed, third-party voter registration organizations behave badly.

Several steal or alter information on voter-registration applications. Many data-mine

information from the applications themselves, without telling their canvassers or voters

about it. Others untimely submit voter-registration applications, which could

disenfranchise the fiduciaries they serve, or leave for Mexico without delivering those

applications. Some even forge voters’ signatures on the applications. Problems like

these lead to countless complaints from ordinary Floridians, supervisors of elections,

and even legislators of both major political parties. They also lead to warning letters,

fines, and criminal prosecutions.

       SB7050, an omnibus elections package, addresses these and other problems.

Among its many, many sections are commonsense 3PVRO provisions. The provisions

limit the universe of people collecting or handling voter-registration applications. They

protect sensitive information on those applications. They require canvassers to provide

voters with a receipt, and they increase fines and shorten the submission window to

ensure prompt and proper application delivery. The provisions also ensure that voters

have agency when requesting a vote-by-mail ballot.

       Yet Plaintiffs take issue with these 3PVRO-related provisions. Plaintiffs contend

that the provisions unconstitutionally interfere with their rights and target a subset of

voters. Who are these voters? Not the individual Plaintiffs. Not the organizational

Plaintiffs.
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      Rather, the affected voters are the less than two percent of unregistered voters

who—without the assistance of a 3PVRO collecting, handling, and delivering their

voter-registration applications—will not use the many other means of registering to

vote in Florida. PX979 (Herron’s corrected table). Or so goes Plaintiffs’ theory based

on a data set where large chunks of data on the method of registration are missing.

      The affected voters are also predominantly black and Hispanic, and they may

have used another means to register to vote but, without the assistance of a 3PVRO

taking physical custody of their application, will not update their registration and won’t

be able to vote in an upcoming election. Or so goes Plaintiffs’ theory based on a data

set where large chunks of data on the race of voters is missing.

      Put another way, the affected subset of voters Plaintiffs have in mind are those

who don’t have access to the internet, or a printer, a pen, a pencil, or postage; who don’t

have a car or access to a bus; who don’t go to government buildings or even a Walmart.

Most importantly, it’s voters who can only be assisted by a person or organization

engaging in 3PVRO activity—for whom it’s not enough to be assisted by the same person

or the same entity through an iPad or QR code that links to the online voter-registration

portal, or through a blank voter-registration application and a postage stamp to return

the completed application.

      Among the (many) problems with Plaintiffs’ case is an obvious one: Plaintiffs

theory of disparate impact (in Fourteenth Amendment parlance) and impact on the

right to vote (in Anderson-Burdick parlance) rests on a series of suppositions drawn from
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incomplete data and based on a methodology with glaring flaws. That Plaintiffs haven’t

proven discriminatory intent or disparate impact dooms their Fourteenth Amendment

claim. The Anderson-Burdick claim fails because the right to vote simply isn’t implicated

in this case brought by canvassers and organizations, not voters; even if it is, the impacts

on the right to vote are minimal at best and outweighed by the State’s interests in

addressing the problems with 3PVROs.

       The NAACP Plaintiffs’ claim concerning a ban assistance for disabled voters

requesting a vote-by-mail ballot fares no better. Testimony from supervisors of

elections made clear that there is no such ban. Plaintiffs’ argument to the contrary insists

on giving the words “request” and “assist” the same meaning and otherwise contorting

Florida law to create a conflict with federal law when no such conflict exists. Nothing

in Florida law precludes a person with disabilities from seeking the assistance of the

person of their choice when requesting a vote-by-mail ballot.

       Accordingly, this Court should reject all of Plaintiffs’ remaining claims and enter

judgment in favor of the Secretary.

                         Factual & Procedural Background

I.     It’s Easy to Register to Vote in Florida.

       Florida makes it easy to register to vote. A Floridian has many options to register.

She can register when she gets her drivers license with the Florida Department of

Highway Safety and Motor Vehicles—the DMV. She can also pick up a blank voter-

registration application at innumerable public buildings (a supervisor of elections office,
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library, tax collector’s office, U.S. Department of Veteran Affairs building, and the

Social Security Administration, among others), or even Walmart, and then hand deliver

or mail the completed application to her supervisor’s office or the Division of Elections.

See, e.g., Fla. Stat. §§ 97.052(1)(b), 97.052, 97.053, 97.057, 97.0575, 97.058, 97.0583,

97.05831.

       Completing the voter-registration application is simple. DX13 (voter-registration

application). The document only requires a few affirmations about voting eligibility, a

voter’s date of birth, drivers license number or Florida identification number and four

social-security digits, the voter’s name and address, and signature. That’s it.

       Despite testimony to the contrary, Tr.1079:13-18 (Smith), there’s no affidavit

requirement in lieu of having a drivers license number, identification number, or social-

security number. The application makes clear what’s required:

       Special ID requirements: If you are registering by mail, have never voted in
       Florida, and have never been issued one of the ID numbers above, include
       one of the following with your application, or at a later time before you
       vote: 1) A copy of an ID that shows your name and photo (acceptable IDs—
       U.S. Passport, debit or credit card, military ID, student ID, retirement
       center ID, neighborhood association ID, or public assistance ID); or 2) A
       copy of an ID that shows your name and current residence address
       (acceptable documents—utility bill, bank statement, government check,
       paycheck, or other government document).

       The special ID is not required if you are 65 or older, have a temporary or
       permanent physical disability, are a member of the active uniformed
       services or merchant marine who is absent from the county for active
       duty, or a spouse or dependent thereof, or are currently living outside the
       U.S. but otherwise eligible to vote in Florida.

DX13 (emphases in the original).
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       If a voter doesn’t want to fill out and deliver an application, or register with the

DMV, she can register through Florida’s online portal. All she needs is a drivers license

number or identification number and social-security number. That makes the online

portal a convenient and popular way to register, even if it had two web-related issues

within the past decade. Tr.1081:2-9 (Smith).

       A voter can register with the help of third parties as well. A third party—whether

a friend or an organization like the League of Women Voters or NAACP—can give a

voter a blank voter-registration application, tell her how to fill it out, and give her a

postage stamp, all so that the voter can deliver or mail the completed application herself.

The League of Women Voters is now using this option. Tr.1214:8-13 (Scoon). A third

party can also use an iPad to direct voters to the online registration portal, as the League

of Women Voters now does as well, Tr.1217:9-15 (Scoon), and as Poder Latinx has

been for some time as part of its “online first” approach to registration, PX883 at 23

(canvasser PowerPoint). The NAACP’s QR codes—directing people to the online

voter-registration   system—remain       available   too.   DX187      (Slater   deposition

designations); DX83 (Slater deposition).

       Critically, a third-party transforms into a third-party voter registration

organization—a 3PVRO—when it “collects” physical “voter registration applications”

and “ensure[s]” that they are “promptly delivered” to the right elections official. Fla.




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Stat. § 97.0575(5)(a). 1 Collection and delivery of someone’s voter-registration

application is key. Id. Before engaging in this activity, a 3PVRO must register with the

State. DX96 (registration form); Tr.1921:6 – 1922:10 (Matthews).

       The Division of Elections also provides a whitepaper on what counts as a

3PVRO activity. It states that:

       Printing and/or distributing blank voter registration applications or
       helping a person complete an online application form through Florida’s
       official online voter registration system (RegistertoVoteFlorida.gov) or an
       online fillable form without collecting the completed applications does not
       trigger 3PVRO status.

PX780 (whitepaper) (emphasis in the original). 3PVROs also understand this to be the

case. The League of Women Voters says so in a post-SB7050 email blast to its members,

PX786 at 2 (email), and in testimony at trial from its witnesses, e.g., Tr.1296:4 – 1297:21

(Scoon). The NAACP agrees, as the testimony at trial showed. Tr.1180:9 – 1181:5

(Slater).

       What is and isn’t 3PVRO activity ultimately gets reflected in the data the State

keeps and the statistics it publishes. E.g., PX78 (Department of State statistics on voter-

registration rates). When the League of Women Voters or NAACP or Poder Latinx

helps someone register to vote without engaging in 3PVRO activity, it simply does not

get captured as a 3PVRO registration. Tr.1923:6 – 1924:22 (Matthews); Tr.1927:7 –


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         The statute refers to “solicit” or “collect.” But, in 2012, this Court concluded
that the solicitation trigger violated federal law. League of Women Voters of Fla. v. Browning,
863 F. Supp. 2d 1155, 1163-64 (N.D. Fla. 2012). Since then, only the collection prong
of the statute has been effective.
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1928:24 (Matthews); Tr.1929:16 – 1930:3 (Matthews). Using an iPad to direct people to

the online portal is an online voter registration. Telling people to mail back their

completed application in a pre-stamped application to their local supervisor of elections

counts as a supervisor-related registration. See generally Tr.1923:6 – 1924:22 (Matthews);

Tr.1927:7 – 1928:24 (Matthews); Tr.1929:16 – 1930:3 (Matthews).

       Finally, just as with registering to vote, voting itself remains easy. That’s true for

disabled voters as well (or those who don’t speak English as a first language). Federal

and state law allow disabled voters to make vote-by-mail requests with the assistance of

anyone eligible to assist under Section 208 of the Voting Rights Act. See 52 U.S.C.

§ 10508; Fla. Stat. § 101.051(3); see also Wakulla Cnty. Absentee Voter Intervenors v. Flack,

419 So. 2d 1124, 1126 (Fla. 1st DCA 1982). Anyone—including a 3PVRO volunteer—

who has the consent of a Florida voter can assist the voter with requesting a vote-by-

mail ballot. Tr.797:13 – 799:12 (Earley); Tr.1825:22 – 1826:20 (Hays).

II.    Getting Better All the Time.

       Florida continues to improve its election administration processes, however.

And there’s room for improvement when it comes to 3PVRO activity. Indeed, in this

case, over 300 exhibits are state officials’ allegations of 3PVRO misconduct that justify

greater scrutiny and policy changes. PX266 – PX401; PX406 – PX646; DX26 – DX29.

        Hard Knocks is the most high-profile case. Tr.1791:17 – 1795:24 (Fox). In less

than one year, between 2022 and 2023, Hard Knocks received four letters from the

Department of State, alleging a slew of election-law violations. PX266 (first letter);
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PX280 (second letter); PX331 (third letter); PX328 (fourth letter). The fourth and final

letter alleged that:

       In the two letters last year, dated September 29, 2022 [PX266], and
       November 29, 2022 [PX280], you were fined a total of $33,400.00. That
       number could have been as high as $191,500.00 but for a statutory cap of
       fines. Your actions addressed in those two letters negatively affected
       approximately 2,779 voter applications and/or registrants.

PX328 at 1.

       Hard Knocks’s misconduct led to a criminal investigation as well. The

investigation linked dozens of fraudulent voter-registration applications to the 3PVRO.

Tr.1793:17-22 (Fox). Criminal charges weren’t brought against Hard Knocks itself

because the prosecutor determined that current laws didn’t allow it. Tr.1793:5-11 (Fox).

But several Hard Knocks canvassers were charged in February 2023. Tr.1793:1-4 (Fox);

Tr.1812:10 – 1813:3 (Fox). The prosecutor made sure that the public was aware of Hard

Knocks’s misconduct and the criminal charges. Tr.1793:23 – 1795:4 (Fox). Incidentally,

that local prosecutor serves the area Senate President Kathleen Passidomo represents.

Tr.1791:6-16 (Fox).

       There are other high-profile cases. There’s Cheryl Hall, who, while working for

Florida First, a 3PVRO, changed the party affiliation of over 500 voter-registration

applications. Tr.1774:12 – 1776:15 (Gladson); Tr.1823:7 – 1824:8 (Hays). There’s also

Royal Shepard who altered, omitted, and forged signatures on “hundreds and

hundreds” of applications. Tr.790:14 – 791:7 (Earley). He was a canvasser who either

“work[ed] for different 3PVROs or a company” hired by many 3PVROs. Tr.792:24 –
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793:5 (Earley). Mr. Shepard was eventually caught, in part, by “comparing” the

signatures on the fraudulent applications “with other signatures” that were “on file”

with the supervisor of elections. Tr.791:8 – 792:8 (Earley).

       Florida Democrats—seemingly every Democratic member of the Florida

Legislature—also raised the alarm about 3PVRO activity. In 2022, led by then-Senator

Taddeo, the Democratic caucus wrote a letter to Attorney General Merrick Garland.

Tr.492:2 – 493:1 (Torres); Tr.506:22 – 507:11 (Torres). In it, the Democrats alleged that

a 3PVRO changed a South Florida woman’s party affiliation on her voter-registration

application and asked for help to address this 3PVRO problem. PX983 (letter); PX982

(article on letter).

       Those are just the high-profile cases. Countless other cases have an equally

detrimental effect. The misconduct, and allegations of misconduct, include:

   • Untimely submitting voter-registration applications. E.g., Tr.61:9-10 (Nordlund);
     Tr.557:20 – 558:3 (Wassmer); Tr.582:11-15 (Velez); Tr.1207:24 – 1208:4 (Scoon).

   • Untimely submitting applications after book closing and potentially
     disenfranchising voters. E.g., PX452 at 2 (People Power fine letter).

   • Canvassers (ostensibly) impersonating state officials and getting into altercations
     with voters. E.g., PX845 (Hispanic Federation incident).

   • Canvassers fraudulently signing applications. E.g., Tr.55:19 – 56:6 (Nordlund);
     Tr.127:4-21 (Nordlund).

   • Canvassers registering dead people. E.g., Tr.729:21 – 730:4 (Herrera-Lucha);
     Tr.1728:6-17 (Van der Giesen).



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   • Canvassers altering information on applications or switching voters’ party
     affiliation. E.g., Tr.792:9-23 (Earley); Tr.1175:13-16 (Slater); Tr.1728:6 – 1729:2
     (Van der Giesen).

   • Canvassers filling out forms for fictitious people. E.g., Tr.1728:6-13 (Van der
     Giesen).

See also PX266 – PX401; PX406 – PX646; DX26 – DX29. There may or may not be

quota requirements for canvassers. Tr.170:3-9 (Orjuela); Tr.192:2 – 193:2 (Sanchez).

That’s troubling, because quota requirements violate state law. Fla. Stat. § 104.012.

       Apparently, some 3PVROs also data-mine information from collected voter-

registration applications. They scan the applications on their computers; they redact

voters’ drivers license numbers, identification numbers, social-security numbers, and

signatures; and they upload redacted applications to third-party software, like Blocks

and 360. Tr.34:5-13 (Nordlund); Tr.36:8-16 (Nordlund); Tr.38:16-24 (Nordlund);

Tr.42:13-18 (Nordlund); Tr.554:19-24 (Wassmer); Tr.611:14-16 (Velez).

       Voters aren’t informed about the data-mining activity. Tr.121:5-12 (Nordlund);

Tr.554:11-13 (Wassmer). Canvassers are left in the dark as well. Tr.152:5-25 (Orjuela);

Tr.169:22 – 170:2 (Orjuela); Tr.174:25 – 175:5 (Orjuela); Tr.188:14-21 (Sanchez);

Tr.189:11-14 (Sanchez). What’s more, the 3PVROs themselves don’t even know if they

have confidentiality agreements with the third-party software companies. Tr.612:11-15

(Velez); see also Tr.795:5-15 (Earley).2

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        To Plaintiffs, datamining isn’t “nefarious.” NAACP Br. at 25 n.4. Plaintiffs even
point out that supervisors of elections use “Voter Focus,” a “private” entity that helps
supervisors “maintain voter registration logs.” NAACP Br. at 25 n.4. But Plaintiffs’
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      The misconduct isn’t limited to citizens helping citizens register to vote. For

example, three noncitizen canvassers with Mi Vecino were terminated due to

misconduct in Orange County. Tr.407:5-22 (Herrera-Lucha). And in 2022, a Hispanic

Federation canvasser “left for Mexico for ten days” and failed to timely deliver three

voter-registration applications. PX847 (incident email); Tr.613:17 – 615:5 (Velez). This

canvasser was most likely a noncitizen, given that “a little bit higher than 70 percent”

of Hispanic Federation canvassers in “2022” were “noncitizens.” Tr.586:6-9 (Velez).

With noncitizens, there’s always a risk that they can leave the State, given their strong

ties to other countries, and not turn in applications on time. See generally Tr.171:4-19

(Orjuela); Tr.389:8-15 (Herrera-Lucha).

      It can also be hard for 3PVROs (and law enforcement) to identify and catch bad-

acting canvassers. Not every 3PVRO maintains its records well, Tr.1730:24 – 1731:8

(Van der Giesen), and some 3PVROs operate their canvassing operations like nesting

dolls: they may hire a canvassing company, who then hires a subcontractor canvassing

company, who then may hire another subcontractor canvassing company. E.g.,

Tr.1731:15 – 1732:6 (Van der Giesen). This makes it difficult to find a particular bad-


focus on Voter Focus is a red herring. Supervisor Earley “helped” Voter Focus
“develop” its “software,” Tr.736:18-13, and Supervisor Earley must comply with the
confidentiality requirements imposed by the Florida Election Code. 3PVROs like
Hispanic Federation don’t even know if they have confidentiality agreements with third-
party software companies. E.g., Tr.612:11-15 (Velez). More to the point, 3PVROs data
mine information on voter-registration applications, yet Plaintiffs didn’t establish that
Voter Focus does the same. The comparison between Blocks and 360, on the one hand,
and Voter Focus, on the other, misses the mark.
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acting canvasser who registered a particular voter for a particular 3PVRO at a particular

time. E.g., Tr.1731:15 – 1732:6 (Van der Giesen).

      Voters are understandably losing confidence in 3PVROs, and 3PVROs know it.

The Polk County Supervisor of Elections, for example, told Hispanic Federation that

some voters may be “changing one number of their ID/SS on purpose to ensure their

confidential information is not used in fraudulent ways.” PX851; Tr.615:23 – 617:6

(Velez). That makes sense, because voters are protective of their sensitive information.

As one canvasser put it:

      People on the street don’t like to be approached. They don’t like people
      intruding into their privacy. . . . [T]he person out in the streets is very wary
      of providing their own personal information. Part of our job as a
      canvasser is to give that voter the assurance that their personal
      information is going to be turned in directly to the office and that’s it,
      meaning to say we’re not going to use that information ourselves.

Tr.181:4-6 (Sanchez); Tr.189:2-7 (Sanchez). Yet voters are being approached outside of

tax collector’s offices, PX845 (Hispanic Federation incident), or Walmarts, Tr.513:1-8

(Martinez)—where voters can register inside the building. None of this adds to voter

confidence. It does add to voter confusion. After all, as described during trial, voters in

Orlando thought that a Hispanic Federation canvasser was a tax collector’s office

employee. PX845 (Hispanic Federation incident); Tr.617:7 – 620:4 (Velez).

       The State is aware of the misconduct. In both 2023 and 2024, the Office of

Election Crimes and Security published a report on election misconduct in Florida and

discussed misconduct coming from 3PVROs. DX14 (2023 report); DX15 (2024

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report). Florida law requires the office to create this report and send it to the senate

president and speaker of the house. See Fla. Stat. § 97.022(7). The 2023 report—

published a few months before the 2023 Florida Legislative session—stated that:

      During 2022, the [office] also reviewed a large number of complaints
      involving Third Party Voter Registration Organizations (3PVROs). A
      number of these organizations were reported by election officials for
      failing to timely comply with statutory obligations—most significantly,
      failure to timely turn in voter registration applications. The [office]
      reviewed approximately 3,077 voter registration applications that were
      collected and submitted untimely by 3PVROs, in violation of section
      97.0575, Fla. Stat. The [office] assessed statutory fines in the amount of
      $41,600.00 against those 3PVROs that did not comply with the statutory
      requirements. See section 97.0575(3)(a)1-3, Fla. Stat.

      The [office] has also made a number of criminal referrals related to
      3PVROs; specifically, the referrals targeted voter registration agents
      employed by 3PVROs, who are alleged to have committed fraud, engaged
      in identity theft, changed a voter’s party affiliation, registered deceased
      individuals, or registered fake individuals, among other violations. Many
      of these criminal referrals are still pending and remain under active
      criminal investigation with law enforcement.

DX14 at 1, 5. The 2024 report—passed after the 2023 Florida Legislative Session—

included even more allegations against 3PVROs. E.g., DX15 at 5, 7-9.

      The Office of Election Crimes and Security does more than just publish reports.

Following its creation, it’s the governmental entity responsible for sending letters to

3PVROs that allegedly violated statutory and regulatory law. (Before the office’s

creation, the general counsel’s office in the Department of State sent the letters. E.g.,

PX620 (letter).)




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       There are two kinds of violations mentioned in a letter. The first is a statutory

violation, which usually comes with a statutorily prescribed fine. E.g., Fla. Stat.

§ 97.0575(5). The second is a regulatory (Department of State rule) violation, which

doesn’t come with a fine, because the law doesn’t authorize a fine for these violations.

       As an example, consider a letter sent to Poder Latinx. PX364. The letter contains

both kinds of violations. It contains a statutory violation—failing to deliver voter-

registration applications to the right elections official under section 97.0575(3)(a)—

which comes with a fine. PX364 at 2. The letter also contains a regulatory violation—

not properly dating applications under Rule 1S-2.042(4)(B)—which doesn’t carry a fine.

PX364 at 2.

       Once a fine is assessed, a 3PVRO can either pay it or “respond to” the “letter

within 30 days” and “show cause why a fine should not be imposed.” PX364 at 2;

Tr.708:4 – 709:16 (Vilar). If a 3PVRO responds, and if the office stands by its

assessment, the 3PVRO can then take the case to the Division of Administrative

Hearings and ask an administrative law judge to make the appropriate findings of fact.

See generally Fla. Stat. Chpt. 120.

       A brief aside before continuing: in their written closing, Plaintiffs contend that

the Office of Election Crimes and Security engages in “selective enforcement against

those 3PVROs that serve central Florida’s (overwhelmingly Puerto Rican) Hispanic

population.” NAACP Br. at 52; see also Hispanic Federation Br. at 113-15 (raising similar



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contentions). But the basis for this contention is mere conjecture. After all, Plaintiffs

chose not to call Director Darlington, the office’s head, as a witness in their case.

      Trying to mitigate their tactical error, Plaintiffs try to cobble together an

argument based on a chart, PX264, that lists fines and offending 3PVROs. NAACP Br.

at 52, 155-58; Hispanic Federation Br. at 113-14. But the chart doesn’t list 3PVRO fines

before September 2022, or after May 2023; it captures only a snapshot in time before and

during the 2023 legislative session. There’s also no accompanying testimony discussing

how or why the fines were assessed (other than the fine letters) or whether some fines

were successfully appealed or whether some fines were challenged before the Florida

Division of Administrative Hearings. Plaintiffs thus put a lot of stock in a document

without any testimony (or other evidence) linking the document to their ultimate

contention that Florida’s Puerto Rican community is being targeted.

      Plaintiffs also ignore a failsafe for 3PVROs: the advisory opinion process. If a

3PVRO has a question about complying with statutory or regulatory law, it can seek an

advisory opinion from the Division of Elections. Fla. Stat. § 106.23(2); Fla. Admin. R.

1S-2.010; Tr.1932:5-16 (Matthews); Tr.1934:24 – 1935:18 (Matthews). Acting in

accordance with the advice shields the requestor from criminal prosecution under the

entire election code. In litigation involving felon re-enfranchisement, the Eleventh

Circuit and this Court acknowledged much the same; the courts accepted that reliance

on an advisory opinion shields the requestor from criminal liability. Jones v. Governor of



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Fla., 975 F.3d 1016, 1026 (11th Cir. 2020) (en banc); Jones v. DeSantis, 462 F. Supp. 3d

1196, 1241-42 (N.D. Fla. 2020).3

III.   The Florida Legislature Passes SB7050.

       SB7050 was introduced during the 2023 Florida Legislative Session, when

Republicans had a supermajority in both the senate and house. Tr.919:25 – 920:14

(Eskamani). The bill was an omnibus elections package, addressing election issues as

varied as list maintenance, candidate nicknames, resign to run, and much, much more.

Tr.490:8 – 491:11 (Torres); Tr.921:16 – 922:24 (Eskamani). SB7050 also contained

3PVRO provisions. Senator Burgess, the bill’s sponsor, explained the need for

additional 3PVRO regulations:

       [T]hird-party voter registration organizations, they’re not an official arm
       of the supervisor of elections office. They’re private organizations that are
       electing to again act as a fiduciary. It’s an immense responsibility.

       And there’s currently, I believe, around just under like 2000 that are
       registered in the state of Florida alone. They’ve been around since, I
       believe, about 2005. There’s been regulations on the books for these
       organizations. Every cycle – reading historically and to date – there’s
       additional issues that arise with these organizations, which is prompting
       the additional need for enhanced measures of protection for the voter. . .
       .

       3
         Section 106.23(2) provides that “[a]ny person or organization, acting in good
faith upon such an advisory opinion, shall not be subject to any criminal penalty
provided for in this chapter.” As the department explained in the felon-re-
enfranchisement cases, its long-standing position has been that an advisory opinion
shields the requestor from liability under the entire election code, not just Chapter 106,
because Chapter 106 is replete with cross references to other parts of the code and
other parts of the code provide the mechanisms to criminally charge individuals and
organizations. See generally Fla. Stat. Chpt. 104 (cataloging violations and penalties for
the election code as a whole).
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      [T]his is about the accountability for the voter. At the end of the day, that’s
      what really matters, and regardless of the purpose, you know, for a third-
      party voter registration organization, we are legislating to protect the
      voter, and that’s the sole purpose of all the provisions within this and the
      guiding light behind all the third-party voter registration organizations
      provisions.

PX246 60:8 – 61:10; see also PX250 55:18 – 56:5 (Byrd); PX252 27:1 – 28:3 (Burgess).

In relevant part, SB7050’s provisions included the following additions and amendments

to Florida law:

   • The Citizen Restriction, Fla. Stat. § 97.0575(1)(f): An affirmation that each
     person collecting or handling voter registration applications on behalf of the
     third-party voter registration organization is a citizen of the United States of
     America. A third-party voter registration organization is liable for a fine in the
     amount of $50,000 for each such person who is not a citizen and is collecting or
     handling voter registration applications on behalf of the third-party voter
     registration organization.

   • The Retention Provision, Fla. Stat. § 97.0575(1)(e) : If a person collecting voter
     registration applications on behalf of a third-party voter registration organization
     copies a voter’s application or retains a voter’s personal information, such as the
     voter’s Florida driver license number, Florida identification card number, social
     security number, or signature, for any reason other than to provide such
     application or information to the third-party voter registration organization in
     compliance with this section, the person commits a felony of the third degree,
     punishable as provided in s. 775.082, s. 775.083, or s. 775.084.

   • The Receipt Provision, Fla. Stat. § 97.0575(4): A third-party voter registration
     organization that collects voter registration applications shall provide a receipt to
     an applicant upon accepting possession of his or her application. The division
     shall adopt by rule a uniform format for the receipt by October 1, 2023. The
     format must include, but need not be limited to, the name of the applicant, the
     date the application is received, the name of the third-party voter registration
     organization, the name of the registration agent, the applicant’s political party
     affiliation, and the county in which the applicant resides.


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• The Fines Provision, Fla. Stat. § 97.0575(5):

   (5)(a) A third-party voter registration organization that collects voter registration
   applications serves as a fiduciary to the applicant and shall ensure, ensuring that
   any voter registration application entrusted to the organization, irrespective of
   party affiliation, race, ethnicity, or gender, is must be promptly delivered to the
   division or the supervisor of elections in the county in which the applicant resides
   within 10 14 days after the application is was completed by the applicant, but not
   after registration closes for the next ensuing election. If a voter registration
   application collected by any third-party voter registration organization is not
   promptly delivered to the division or supervisor of elections in the county in
   which the applicant resides, the third-party voter registration organization is
   liable for the following fines:

      1. A fine in the amount of $50 per each day late, up to $2,500, for each
      application received by the division or the supervisor of elections in the
      county in which the applicant resides more than 10 14 days after the applicant
      delivered the completed voter registration application to the third-party voter
      registration organization or any person, entity, or agent acting on its behalf.
      A fine in the amount of $2,500 $250 for each application received if the third-
      party voter registration organization or person, entity, or agency acting on its
      behalf acted willfully.

      2. A fine in the amount of $100 per each day late, up to $5,000, for each
      application collected by a third-party voter registration organization or any
      person, entity, or agent acting on its behalf, before book closing for any given
      election for federal or state office and received by the division or the
      supervisor of elections in the county in which the applicant resides after the
      book-closing deadline for such election. A fine in the amount of $5,000 $500
      for each application received if the third-party voter registration organization
      or any person, entity, or agency acting on its behalf acted willfully.

      3. A fine in the amount of $500 for each application collected by a third-party
      voter registration organization or any person, entity, or agent acting on its
      behalf, which is not submitted to the division or supervisor of elections in the
      county in which the applicant resides. A fine in the amount of $5,000 $1,000
      for any application not submitted if the third-party voter registration
      organization or person, entity, or agency acting on its behalf acted willfully.
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          The aggregate fine which may be assessed pursuant to this paragraph which
          may be assessed against a third-party voter registration organization,
          including affiliate organizations, for violations committed in a calendar year
          is $250,000 $50,000.

      (6) If a person collecting voter registration applications on behalf of a third-party
      voter registration organization alters the voter registration application of any
      other person, without the other person’s knowledge and consent, in violation of
      s. 104.012(4) and is subsequently convicted of such offense, the applicable third-
      party voter registration organization is liable for a fine in the amount of $5,000
      $1,000 for each application altered.

      In terms of the ten-day delivery window, the Fines Provision returns the

3PVRO delivery timeline to its 2012 to 2021 standard. See League of Women Voters of Fla.

v. Browning, 863 F. Supp. 2d 1155, 1168 (N.D. Fla. 2012).

   • The Mail-In Ballot Request Provision, Fla. Stat. § 101.62(1)(a): The supervisor
     shall accept a request for a vote-by-mail ballot only from a voter or, if directly
     instructed by the voter, a member of the voter’s immediate family or the voter’s
     legal guardian from an elector in person or in writing. A request may be made in
     person, in writing, by telephone, or through the supervisor’s website. The
     department shall prescribe by rule by October 1, 2023, a uniform statewide
     application to make a written request for a vote-by-mail ballot which includes
     fields for all information required in this subsection. . . . .

      Senator Burgess introduced SB7050 as a proposed committee substitute on April

4, 2023. There’s nothing unusual about proposed committee substitutes. Over half the

bills Senator Torres has seen in his long legislative career have been proposed

committee substitutes. Tr.487:10 – 488:4. The Senate Rules also explicitly allow for

proposed committee substitutes, see Fla. Sen. R. 2.39, imposing filing and procedural




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requirements that are different than member-filed bills, Tr.487:10-20 (Torres); PX246

110:7-11 (Burgess).

      True, SB7050 was introduced around the half-way mark of the sixty-day

legislative session. That means the Florida Legislature still had a month to review the

bill. And, as Senator Burgess explained, it took time to draft the omnibus elections bill:

      [T]here is a lot of components that we’re addressing. There’s 43 different
      provisions, some of them more substantial or technical than others, but
      collectively, that, I think, enhanced our responsibility to try to get it right.

      We wanted to when we released the product to have it as close to right as
      we possibly could fully understanding out the gate – and based on some
      feedback we’ve already received from supervisors of elections and input –
      that obviously our address list maintenance provisions, albeit important in
      the bill, there is some work that still needs to be done there.

      So, you know, we are on day 29, and we do have over halfway to still be
      able to go through session with multiple stops. And we really want to make
      sure to get this bill right because it’s very technical and mechanical. A lot
      of it deals with onuses that will be put on the supervisors themselves in
      implementing things or the Department of State. And so making sure all
      those machinations are working is really important, and I think prudence
      is kind of the operating word I would use in terms of why we released
      when we did. . . .

PX246 30:24 – 31:25. He added that:

      The bill does not become law today. This is the beginning of a process.
      There’s going to be more committee hearing, and there’s going to be a
      process that will take place in the House as well as a bicameral legislature.
      And we will have more input to follow upon the completion of today’s
      business. Based on some testimony and feedback, I felt it was important
      to emphasize that. We also have more than a month of voting in Florida.
      In Florida, I firmly believe – and I think many agree – it’s actually hard
      not to vote. Florida is the gold standard for elections, and we should be
      proud of that. But that doesn’t mean that we’re not proactive. It doesn’t

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       mean that after you win the Super Bowl you don’t watch the tape and
       improve. . . .

PX246 110:7 – 112:4. In other words, there was plenty of time to get things right on a

very large, technical, and complex elections package.

       Again, there was nothing unusual about any of this. Lake County Supervisor of

Elections Hays, a veteran of the Florida Legislature, and the chair of the Florida

Supervisors of Elections Association’s Legislative Committee, followed SB7050’s

legislative process and reached the same conclusion. Tr.1820:3 – 1821:3.

       Other stakeholders provided valuable input on the bill. PX252 203:20 – 204:6

(Burgess). Secretary Byrd and the Department of State contributed to the bill. PX250

34:5-10 (Byrd). The supervisors of elections and their lobbyist contributed. PX246

78:23 – 82:10 (Ramba); PX250 86:14-19 (Earley, although the transcript identifies him

as “Ali”). In fact, this wasn’t the first time the supervisors contributed to an omnibus

elections package. When the legislature was considering SB90 during the 2021 session,

the supervisors championed the bill’s requirement that voter-registration applications

be sent by 3PVROs to the voter’s county of residence. Tr.1821:4-21 (Hays). It was a

priority of the supervisors to alleviate burdens on some supervisors. Tr.1821:4-21

(Hays).

       The 2023 Office of Election Crimes and Security Report was mentioned during

SB7050’s legislative debates as well. Senator Burgess often referenced data that came

straight out of the report:

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      And in 2022 alone, the OECS – the Office of Election Crimes and
      Security – reviewed approximately – it was over 3000 voter registration
      applications that were collected and submitted untimely by third-party
      voter registration organizations, which is a violation of the statute. The
      assessed fines in 2022 were in excess of $41,000 against those.

PX246 34:22 – 35:4; DX14 at 5 (report); see also PX252 33:10 – 34:2 (Burgess) (same).

The office, again, has the statutory obligation to send the report to the senate president

and speaker of the house. Fla. Stat. § 97.022(7). As Senator Torres explained, reports

written by state agencies and sent to legislative leaders may get forwarded to individual

legislators. Tr.488:11 – 489:14. Senator Torres and Representative Eskamani even

received and read the 2023 report; both of them are Democrats. Tr.499:1-4 (Torres);

Tr.925:2-6 (Eskamani).

      Hard Knocks was also mentioned during the legislative debates. After all, much

of Hard Knock’s misconduct happened in Senate President Passidomo’s district.

Tr.1791:6-16 (Fox). And Senator Torres reminded us that the senate president’s office

is supremely important; what she wants, she gets. Tr.488:21-23.

      Secretary Byrd even testified before the legislature about Hard Knock’s

misconduct. E.g., PX248 67:16 – 68:22. He further noted that the Department of State

“put out a press release” about the Hard Knocks scandal. PX250 54:1 – 55:6; see also

PX248 69:25 – 70:1 (Byrd).

      SB7050 had its critics, some of whom alleged that the 3PVRO provisions would

disenfranchise voters. Supporters of the bill pushed back, chief among them, Senator

Burgess:
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      With respect to third-party voter registration organizations, nothing in this
      bill or the proposed committee substitute is intended to do away with
      these organizations and the most important civic activities that they
      engage in, rather because of the important roll [sic] they play as a fiduciary,
      we are adding additional guardrails . . . .

PX250 3:22 – 4:4 (Burgess); see also PX250 110:23 – 112:24 (Burgess); PX252 205:1 –

206:10 (Burgess).

      Although SB7050’s supporters—all Republicans—had a supermajority in the

legislature, and even though they didn’t need to provide a justification for the 3PVRO

provisions to get them passed, they offered several on the record:

   • The Citizen Restriction was justified as a means to protect sensitive
     information on voter-registration applications and as a means of defining
     Florida’s political community. See, e.g., PX248 3:13-17 (McClure); PX250 112:9-
     12 (Burgess); PX252 5:10 – 6:7 (Hudson); PX252 15:7-16 (Hudson); PX252 16:7
     – 17:16 (Burgess); PX254 7:1-7 (McClure); PX254 7:16 – 8:2 (McClure).

   • The Retention Provision was justified as another means of protecting sensitive
     information on applications. See, e.g., PX246 37:4-10 (Burgess); PX246 66:4-21
     (Burgess); PX250 14:3-15 (Burgess).

   • The Receipt Provision ensured 3PVRO accountability and provided a lead on
     potential 3PVRO misconduct. See, e.g., PX246 35:25 – 36:9 (Burgess); PX248
     12:17 – 14:1 (McClure); PX248 17:25 – 19:17 (McClure); PX248 68:23 – 69:6
     (Byrd); PX250 29:18 – 30:6 (Burgess); PX250 112:13-24 (Burgess); PX254 23:15
     – 24:4 (McClure); PX254 140:1-11 (Sirois).

   • The Fines Provision was justified as a means to ensure an application’s timely
     delivery to the right elections official. See, e.g., PX246 36:10 – 37:3 (Burgess);
     PX246 38:3-13 (Burgess); PX250 28:1-11 (Burgess); PX252 22:6 – 23:7
     (Burgess); PX252 32:16 – 34:2 (Burgess).

      While the legislative record tells a lot, it doesn’t tell everything. Not every

legislator spoke about his or her support of or opposition to SB7050. As Senator Torres

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explained, when he doesn’t provide comments on the record about legislation, there’s

still a reason why he supports or opposes a bill. Tr.495:2-6.

      For many legislators who provided comments on the record, their support or

opposition wasn’t purely based on SB7050’s 3PVRO provisions, or any other provision.

Some legislators commented on both its 3PVRO provisions and its resign-to-run

provisions. E.g., Tr.497:5 – 498:16 (Torres); Tr.929:18 – 931:1 (Eskamani).

Representative Salzman, for example, focused a majority (though not all) of her

comments on resign-to-run. PX254 146:23 – 148:9. All of that makes it difficult—if not

impossible—to determine the legislative intent behind discrete provisions in an

omnibus elections package.

      Even so, the omnibus elections package passed both chambers of the legislature

on April 28, 2023, and was signed by Governor DeSantis on May 24, 2023. He

capitalized on SB7050’s resign-to-run provision and later began his presidential

campaign.

      The Department of State then undertook rulemaking. In relevant part, it created

the Receipt Provision’s receipt. DX12. The receipt contains blank spaces for the

applicant’s name, party affiliation, and county of residence, the date the application was

collected, the 3PVRO number, and the canvasser’s (“registration agent”) name. DX12

(form). Other regulatory provisions were promulgated, which touch on the Citizen

Restriction and Retention Provision. DX95 (rule).



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IV.     3PVROs, Canvassers, Experts, and State Officials Testify at Trial.

        Plaintiffs sued, and trial happened. The trial testimony revealed (A) how third

parties engage with voters (both in their capacity as registered 3PVROs engaging in

3PVRO activity and in a broader sense), (B) the holes in Plaintiffs’ experts’ analyses,

and (C) the state interests behind SB7050.

        A. Several 3PVRO officers and canvassers explained how they interact with

voters and deliver voter-registration applications—both before and after SB7050. Take,

for instance, testimony from Humberto Orjuela Prieto and Carolina Wassmer; the

former is a canvasser for Poder Latinx, and the latter is its state program director. Both

testified about the lifecycle of what’s clearly 3PVRO activity under Florida law.

        On a typical day, Mr. Orjuela is on a commercial street or near a commercial

building. Tr.165:22 – 166:4. He goes up to a voter, or a voter goes up to him, and he

introduces himself. Tr.166:8-10. Mr. Orjuela asks the voter whether she’s registered to

vote, and he informs her of the ways to vote, including online. Tr.155:23 – 156:9;

Tr.166:11-15. In his experience, about half of the voters he interacts with want to

register online. Tr.166:16 – 167:4. This should come as no surprise, especially when

Poder Latinx instructs its canvassers that the “first step” in the registration process

“should be” to register voters “online.” PX883 at 23 (canvasser PowerPoint).

        Mr. Orjuela also talks to the voter about the importance of registering to vote

and that it’s the voter’s “responsibility” to “participate” in “democracy” and in the



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electoral process. Tr.155:23 – 156:9. The voter may fill out a voter-registration

application with Mr. Orjuela’s assistance.

      But once he collects or handles the application—when he’s in physical

possession of it—Mr. Orjuela and the voter “go separate ways.” Tr.167:8-10. They

“never see each other” or “talk to each other again.” Tr.167:11-14. Mr. Orjuela returns

to the Poder Latinx office and delivers the applications there. Tr.167:15-24. The

completed applications are then reviewed some more. Tr.532:20 – 533:8 (Wassmer).

The applications, says Ms. Wassmer, are scanned, uploaded on Poder Latinx’s

computers, partially redacted, and uploaded to Blocks, a third-party software. Tr.553:9-

24 (Wassmer). The completed, physical applications themselves are then delivered to

the proper elections official. That’s the typical process: after interacting with a voter,

it’s just collecting, handling, reviewing, scanning, and delivering applications. E.g.,

Tr.34:5-13 (Nordlund); Tr.180:11-16 (Martinez).

      3PVROs engage with voters in other ways as well—ways that are not 3PVRO

activity under Florida law. The NAACP offers QR codes to voters, so they can access

Florida’s online registration portal. DX187 (Slater deposition designations); DX83

(Slater deposition). Mi Vecino has canvassers wear a nametag or lanyard that lists the

organization’s website; the website, in turn, takes voters to the online portal. Tr.405:3-

12 (Herrera-Lucha); Tr.417:8-18 (Herrera-Lucha). Canvassers for the League have iPads

or other tablets with them, so voters can also access the online portal. Tr.1217:9-15

(Scoon). Blank registration forms that the voters deliver themselves are also available.
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Tr.1214:8-13 (Scoon). Unidos also has a “digital program,” where it “buy[s] Google

Facebook ads online and then direct[s]” voters “to” its “website to become a voter, to

register to vote online.” Tr.66:22-25 (Nordlund).

      When canvassers are out in the field, voter registration aside, canvassers can ask

voters to become organizational members. That requires someone to provide her name

and contact information, and perhaps indicate that she wants to be contacted by the

organization. NAACP membership applications are available, separate and apart from

voter-registration applications, Tr.1162:9-13 (Slater); Tr.1181:10 – 1182:2 (Slater);

Poder Latinx pledge cards are there, too, Tr.551:2 – 552:12 (Wassmer); PX883 at 15

(canvasser PowerPoint); or one can simply write pertinent information down on the

League’s yellow pad, Tr.1251:24 – 1252:24 (Scoon).

      B. Dr. Herron and Dr. Smith, two of Plaintiffs’ three experts, testified during

trial. This Court is aware of the deficiencies in their analyses, like using HB1355 as a

comparator to SB7050 and relying on partial data to reach broad conclusions. In fact,

this Court summarized it:

      [A]t the end of the day – and just to distill it down, looking at what
      happened with the prior House Bill [1355] where all you know generally
      is that a law was passed and you had a decline in registration, you can’t,
      from that, with any degree of certainty or probability, opine anything as it
      would relate to SB 7050. Moreover, we don’t have any data that relates to
      anybody registering or not registering following SB 7050.

      And so to the extent you’re trying to rely on this historical data, number
      one, it excludes other factors that could impact it; and, number two, it
      doesn’t – it’s – your slightly mixing apples to oranges doesn’t work.
      Moreover, we don’t have anything post-SB 7050 so that maybe you could
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      use that as a baseline if it was consistent with what happened to SB 7050
      and had data post-7050. That might tell you something. But that standing
      alone doesn’t really tell you anything, and you’d really need other data in
      order to extrapolate anything from this.

Tr.1875:13 – 1876:7. There are numerous other problems as well, as discussed in the

upcoming Anderson-Burdick analysis.

      Dr. Lichtman also testified on SB7050’s passage. His testimony was unmoored

to any methodology. It was unbounded, with opinions on education policy, economics,

demographics, history, immigration policy, and political theory. Tr.1434:6 – 1441:19

(voir dire). Importantly, his testimony did not posit a proposition and then use historical

facts to test it. Rather, he started with a proposition and then provided a set of curated

facts to support that proposition. Put another way, he assumed that the Florida

Legislature acted in bad faith in passing SB7050 and provided only the facts he thought

supported that proposition.

      C. State interests were also discussed at trial. The testimony supported and

expanded upon Director Darlington’s declaration, which provided state interests to

some of SB7050’s provisions. PX139. The declaration is a Plaintiffs exhibit, and it has

been entered into evidence.

      Many state officials testified at trial, several of whom were state prosecutors.

They testified about their many issues with 3PVROs. Assistant State Attorney Van der

Giesen, who leads the public corruption unit at the Miami-Dade County State

Attorney’s Office, testified that he has ongoing investigations related to 3PVRO

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misconduct. Tr.1734:7-11. State Attorney Fox testified about her prosecution of the

Hard Knocks canvassers. Tr.1791:17 – 1795:24. State Attorney Gladson testified about

the complaints he’s received about 3PVRO misconduct. Tr.1774:12 – 1775:6.

       In providing this testimony, the state prosecutors explained just how hard and

resource intensive it is to prosecute election crimes like 3PVRO misconduct. Mr. Van

der Giesen explained it this way:

       What I usually do is I will assign both a lawyer and an assistant state
       attorney and an investigator to vet the complaint and then come back to
       me and say, Hey, there’s enough suspicion here that we should start an
       investigation, or, There’s enough suspicion here that we should reach out
       and interview the complainant and see if – make sure they didn’t make a
       mistake. . . .

       Probably on a third-party voter registration complaint, you are going to
       have to start with an historical investigation, because you’re not necessarily
       going to have enough information to know who your suspect is up front.
       So you may have to start issuing subpoenas to the organization to get
       documents to find out who possibly filled out this registration, say, for the
       person. . . .

       So then you have to go the route of historical, issue a subpoena to whoever
       the vendor is for the third-party registration, and then you have to sort of
       go up the ladder to figure out who has records and sort of work from
       there.

Tr.1729:5 – 1730:11. That takes a lot of time. State Attorney Fox similarly testified about

the resource-intensive inquiries undertaken by her economic crimes unit, which

prosecuted Hard Knocks. Tr.1790:5 – 1791:5; Tr.1792:12-25. So did State Attorney

Gladson, for his investigations. Tr.1777:9-25.




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      It’s also just hard to bring charges against 3PVRO canvassers. A prosecutor

could issue a subpoena to the organization, but it takes a while to get a response to a

subpoena. Tr.1730:12-23 (Van der Giesen). Then, assuming there’s a response, there’s

normally an issue with recordkeeping; the records and files aren’t always complete and

are often in the hands of some contractor or subcontractor. Tr.1730:24 – 1731:8 (Van

der Giesen). Even if a prosecutor gets records, a bad actor may have left the jurisdiction

by then or simply can’t be found. Tr.1731:9-14 (Van der Giesen). And even assuming

that a prosecutor has a subpoena, has a response, has completed records, and knows

where the bad actor is, prosecutorial discretion plays a role in bringing charges.

Tr.1779:3 – 1780:16 (Gladson). As such, there’s a big difference between having a

meritless case and having a case that’s just tough to prosecute. Tr.1767:8-22 (Van der

Giesen); see also NAACP Br. at 77.

      State officials also testified that SB7050’s 3PVRO provisions help law

enforcement. For example, the Retention Provision protects a voter’s signature, which

has been and can be used to identify a fraudulently submitted application or signed

vote-by-mail ballot. Tr.1825:11-21 (Hays); Tr.1918:14 – 1919:14 (Matthews);

Tr.1920:14 – 1921:2 (Matthews). That’s partly how Royal Shepard was caught, for

example. Tr.791:8 – 792:8 (Earley).

      The Receipt Provision helps, too. By requiring a canvasser to put his name on

a receipt after collecting a completed voter-registration application, the provision

provides prosecutors with a lead—a document that could help find and identify a bad
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actor. Tr.1732:14 – 1734:3 (Van der Giesen). The more leads law enforcement has, the

better. Tr.1768:4-7 (Van der Giesen); Tr.1795:5-24 (Fox). The commonsense

undergirding of this requirement is so obvious that 3PVROs themselves use identifying

information on voter-registration applications to identify misbehaving canvassers.

That’s how Mi Vecino identified bad-acting canvassers in Orange County: as a “rule[]

of” Mi Vecino, “each canvasser must include their initials on every voter registration

application on the back,” and the initials were used to identify the misbehaving

canvassers. Tr.727:5-12 (Herrera-Lucha). If initials are good when identifying bad

actors, see also Fla. Admin. R. 1S-2.042(5), then the name is even better.

      Supervisors of elections testifying at trial also discussed the Mail-In Ballot

Request Provision. Both Supervisor Earley and Supervisor Hays follow federal and

state elections and disability laws, and both opined that any 3PVRO volunteer—with

the express permission by a voter—can assist a voter requesting a vote-by-mail ballot. The

volunteer can assist a disabled voter in several ways. For example, a League volunteer—

with the consent of a voter—can drive the voter to a supervisor’s office so the voter

can request a vote-by-mail ballot. Or the volunteer—with consent—can dial the office

so the voter can request a vote-by-mail ballot. Or the volunteer—with consent—can

fill out a vote-by-mail application for a voter with a disability. Tr.797:13 – 799:12

(Earley); Tr.1825:22 – 1826:20 (Hays). None of these actions, the supervisors said,

would violate state or federal law. The key is simply maintaining the voter’s agency when

requesting a vote-by-mail ballot.
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                                        Argument

       In these consolidated cases, some Plaintiffs have standing to challenge some

provisions. Some don’t. But even if there’s standing, their claims nonetheless fail.

                             NAACP v. Byrd , 4:23-cv-215

       The NAACP Plaintiffs challenge four SB7050 provisions: (1) the Citizen

Restriction, (2) Retention Provision, (3) Fines Provision, and (4) Mail-In Ballot

Request Provision.

I.     The NAACP Plaintiffs Lack Standing.

       It’s Plaintiffs’ burden to establish standing, and this Court has an independent

obligation to determine its own subject-matter jurisdiction. Bischoff v. Osceola County, 222

F.3d 874, 877-78 (11th Cir. 2000). Noncitizen canvassers have standing to challenge the

Citizen Restriction. But no Plaintiff has standing to challenge the Retention

Provision, Fines Provision, or Mail-In Ballot Request Provision.

       A.     No Standing to Challenge the Retention Provision.

       As described in the Secretary’s response to Plaintiffs’ vagueness claim, the

Retention Provision prevents those who “collect” completed voter-registration

applications—i.e.,    canvassers—from       copying    or    retaining   voter-registration

information. As such, Plaintiffs needed to identify a canvasser who would copy or retain

such information. They didn’t establish that. NAACP Br. at 85-92. In fact, canvassers

testified that they wouldn’t copy or retain any information on a voter-registration

application. E.g., Tr.190:4-13 (Sanchez).
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       To get around this, Plaintiffs allege organizational standing. It doesn’t work. In

their written closing, Plaintiffs didn’t state that any of Unidos’s canvassers copy and

retain any personal information from filled-out voter-registration applications. Based

on the absence of this evidence, it’s speculative whether Unidos would even violate the

Retention Provision. And because it’s speculative whether Unidos would even violate

the provision, swirling around organizational time, effort, and resources—all to combat

a provision that it may not even violate—doesn’t amount to organizational harm. See

City of S. Miami v. Governor of Fla., 65 F.4th 631, 637-40 (11th Cir. 2023). The same is

true with the other organizations. Plaintiffs’ scaled back voter-registration efforts, all to

combat a provision they may not even violate, are therefore self-imposed harms. Id.

       Associational standing doesn’t work, either. To have associational standing,

Plaintiffs must establish, in part, that one identified member would be harmed by the

Retention Provision. Ga. Republican Party v. SEC, 888 F.3d 1198, 1203-04 (11th Cir.

2018). They must name at least one name. Plaintiffs didn’t do that: they didn’t name

one canvasser who wishes to copy or retain any personal information on a filled-out

voter-registration application.

       B.     No Standing to Challenge the Fines Provision.

       For the Fines Provision challenge, Plaintiffs haven’t established an injury in

fact. The provision only applies to 3PVROs, not individual canvassers. It says so in the

statute itself: “the third-party voter registration organization is liable for the following

fines.” Fla. Stat. § 97.0575(5)(a). The organizational Plaintiffs therefore must establish
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that there’s a “substantial likelihood that they will suffer a future injury from the” Fines

Provision—that they will turn in a voter-registration application too late or to the

wrong location, that they will be assessed fines, and that their fines appeals will fail.

Worthy v. Phenix City, 930 F.3d 1206, 1215-16 (11th Cir. 2019); see also McGee v. Solicitor

Gen. of Richmond Cnty., 727 F.3d 1322, 1325 (11th Cir. 2013). Plaintiffs haven’t

established this. If anything, for one week during trial, they put on evidence that

demonstrates that they aren’t likely to be fined in the future. They further underscored

that fact in their written closing. NAACP Br. at 23-28.

       Specifically, Unidos’s Jared Nordlund testified about the 3PVRO’s quality-

control process, e.g., Tr.37:5-11, and that Unidos mails voter-registration applications

to the safe-harbor Division of Elections, Tr.124:18-22. He even testified that he likes

shipping the applications to the division: it “streamline[s] our process more, make[s] it

more efficient and then ultimately just reduces the cost, because driving and staff time

to do other stuff costs more money than just sending $18 to the post office.” Tr.60:5-

11. Unidos isn’t likely to be fined in the future. It’s a “very well-oiled machine,” in Mr.

Nordlund’s words. Tr.54:5.

       True, Unidos “received a civil penalty twice.” NAACP Br. at 34. But those

penalties involved “very limited circumstances.” NAACP Br. at 34. As this Court stated,

“potential registrants are more likely to be stuck by lightning during their life than to

have Unidos turn their application in late.” NAACP Br. at 34-35 n.8 (quoting League of

Women Voters of Fla., Inc. v. Lee, 595 F. Supp. 3d 1042, 1149-50 (N.D. Fla. 2022)).
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       The other 3PVROs provided similar testimony. Marcos Vilar of Alianza testified

that the 3PVRO has a process to “assure that voter registration applications are timely

submitted.” Tr.633:24 – 634:1. Again, true, Alianza “submitted” “13 applications that

were noncompliant” and received letters from the State. NAACP Br. at 35. But “most”

of the noncompliant conduct was “for delivery to the wrong county,” and those thirteen

noncompliant applications were “out of the 7,000 applications submitted on behalf of

registrants.” NAACP Br. at 35. Even so, courts “generally have been unwilling to

assume that the party seeking relief will repeat the type of misconduct that would once

again place” it “at risk of” injury. Worthy, 930 F.3d at 1215-16 (cleaned up). Alianza, all

told, is therefore unlikely to run into the same noncompliance issues in the future.

       Voters of Tomorrow has never registered as a 3PVRO and doesn’t conduct

3PVRO activities of its own. Tr.979:5-15 (Mayer). The NAACP hasn’t been fined in

the last five years, making a future fine anything but imminent. Tr.1174:10-16 (Slater).

Disability Rights Florida isn’t likely to be fined, either, because it hasn’t been able to

launch a voter-registration process since at least 2019. Tr.1305:15 – 1306:4 (Babis

Keller). It’s only been able to register one person. Tr.1306:11-13 (Babis Keller). Given

these facts, it’s completely speculative as to whether Disability Rights Florida will be

fined if it registers a second person. City of S. Miami, 65 F.4th at 637-40.

       The facts at trial thus establish that Plaintiffs are unlikely to be assessed a fine.

We also don’t know whether their appeals to the Office of Election Crimes and Security

would fail; or whether a de novo administrative hearing before the Division of
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Administrative Hearings would negate any fine. See, e.g., Worthy, 930 F.3d at 1215-1216;

McGee, 727 F.3d at 1325-26.

      Swirling around organizational funds, time, and resources can’t establish standing

here. That’s because Plaintiffs fail to show how the Fines Provision has or will

imminently affect them. See generally City of S. Miami, 65 F.4th at 640. Associational

standing isn’t established, either, because Plaintiffs didn’t name a member who is likely

to run afoul of the Fines Provision. Ga. Republican Party, 888 F.3d at 1203-04.

      One final point. Plaintiffs (in their reply) may raise the following argument: in

one breath, the State described Plaintiffs’ 3PVRO misconduct, and yet now, it states

that Plaintiffs haven’t committed enough misconduct to challenge the Fines Provision.

This argument is misplaced. True, some Plaintiffs were fined for bad acts. But as

established at trial, they changed courses and improved. Take Unidos: it was fined, and

it then took remedial action to ensure that it wouldn’t be fined in the future. Tr.57:19 –

66:17 (Nordlund). Not every 3PVRO in Florida is as diligent. Hard Knocks wasn’t.

PX266 (first letter); PX280 (second letter); PX331 (third letter); PX328 (fourth letter).

Bad-acting 3PVROs are at risk of receiving fines, perhaps even the maximum fines

allowed. Those 3PVROs—and not Plaintiffs—have standing to challenge the Fines

Provision. Hard Knocks, for example, could challenge the Fines Provision because

its conduct might well reach the new cap on fines. PX328 (fourth letter) at 1.




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       C.     No Standing to Challenge the Mail-In Ballot Request
              Provision.

       Plaintiffs don’t have standing to challenge the Mail-In Ballot Request

Provision. In their written closing, Plaintiffs only assert associational standing. NAACP

Br. at 94. Most of the Plaintiffs fail to name member names who are affected by the

provision. Disability Rights Florida’s Olivia Babis Keller gets close. She mentioned two

organizational members (but named only one). Tr.1332:18 – 1335:8. Yet she didn’t

connect the dots that needed connecting: she didn’t testify that those two members

concretely—not just possibly—intend to vote in an upcoming election, plan to vote by mail,

won’t have any family members or legal guardians to assist them in requesting a vote-

by-mail ballot, and therefore will not be able to vote in the upcoming election. Anything

short of a concrete plan to vote by mail is simply speculative and therefore doesn’t

count as an injury in fact. See Summers v. Earth Island Inst., 555 U.S. 488, 495-96 (2009).

       D.     No Third-Party Standing.

       As a long shot, Plaintiffs also assert third-party standing. NAACP Br. at 97-98.

This is a bridge too far. Third-party standing doesn’t work when a plaintiff “lacks an

injury in fact.” Aaron Private Clinic Mgmt. LLC v. Berry, 912 F.3d 1330, 1339-40 (11th Cir.

2019). As explained above, Plaintiffs haven’t suffered an injury in fact caused by the

Retention Provision or Fines Provision.




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II.     Plaintiffs’ Claims Fail.

        Even assuming standing, Plaintiffs’ claims fail. As a reminder, they claim: (1) that

the Citizen Restriction, Retention Provision, and Fines Provision infringe upon

First Amendment free speech (Count I); (2) that the Citizen Restriction, Retention

Provision, and Fines Provision infringe upon First Amendment free association

(Count II); (3) that the Citizen Restriction, Retention Provision, and Fines

Provision violate the Equal Protection Clause by discriminating against noncitizens

and black and Hispanic voters (Count III, Count V); (4) that the Citizen Restriction

and Retention Provision are vague and overly broad (Count VI); (5) that the Mail-In

Ballot Request Provision violates Section 208 of the Voting Rights Act (Count VII);

and (6) that the Citizen Restriction, Retention Provision, and Fines Provision fail

Anderson-Burdick balancing under the First and Fourteenth Amendments. Doc.302, 23-

cv-215. The last claim will be discussed in the First Amendment free-speech section.

        A.     The Citizen Restriction, Retention Provision, and Fines
               Provision Don’t Violate First Amendment Free Speech.

        Plaintiffs’ free-speech challenge to the Citizen Restriction, Retention

Provision, and Fines Provision fails. That’s so, regardless of whether the challenge is

analyzed under strict scrutiny, Anderson-Burdick balancing, or rational-basis review.

              1.     The Provisions Regulate Conduct, Not Speech.

        The challenge fails, principally because the three provisions regulate conduct, not

speech. Speech is afforded First Amendment protection; conduct isn’t. Rumsfeld v.

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FAIR, 547 U.S. 47, 60 (2006). A law that affects what a person “must do,” as opposed

to a law that affects what a person “may or may not say,” is a law that regulates conduct.

Id. True, some conduct may be afforded First Amendment protection. But that conduct

must be “inherently expressive,” id. at 66, when it’s “overwhelmingly apparent” that a

message is trying to be conveyed, Texas v. Johnson, 491 U.S. 397, 406 (1989).

       That’s not this case. Here, the Citizen Restriction regulates pure conduct:

collecting and handling a voter-registration application. See Voting for Am., Inc. v. Steen,

732 F.3d 382, 388 (5th Cir. 2013). And “the collection and handling of voter registration

applications is not inherently expressive activity.” League of Women Voters of Fla. v.

Browning, 575 F. Supp. 2d 1298, 1319 (S.D. Fla. 2008). It’s just an administrative means

of moving a government form from Point A to Point B.

       That said, there may be speech before a canvasser receives a filled-out application,

e.g., NAACP Br. at 30, but what happens after is pure conduct. Mr. Orjeula’s testimony

bears this point out.

       When Mr. Orjuela canvasses for Poder Latinx, he approaches a voter, talks to

the voter, and explains why it’s important to register to vote. Tr.165:22 – 167:4. Like

other Plaintiffs, he may even have an organizational t-shirt on, or canvass next to an

organizational banner. E.g., League Br. at 65-66; Hispanic Federation Br. at 64-65. But

once he receives a completed voter-registration application from the voter, both he and

the voter “go separate ways.” Tr.167:8-10. They “never see each other” or “talk to each

other again.” Tr.167:11-14. He then takes the application back to Poder Latinx’s office,
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it gets reviewed a few more times, and then it’s delivered to the proper elections official.

There’s a clear break between speech and conduct—talking to a voter (speech) and then

collecting, handling, reviewing, and delivering an application (conduct). E.g., Steen, 732

F.3d at 389-90.

       All this makes the challenged provisions conduct-based laws, not speech-based

laws. “[T]he conduct” at issue “can[] be separated from” any earlier speech.

Honeyfund.com Inc. v. Governor of Fla., 22-13135, 2024 U.S. App. LEXIS 5193, at *10-11

(11th Cir. Mar. 4, 2024).

       With the Citizen Restriction, moving a piece of paper from Point A to Point B

isn’t speech. Else, the U.S. Postal Service is the most speech-filled organization on the

planet. That’s obviously not so. No one would view the service’s work as speech or

inherently expressive conduct. Nor would someone view a 3PVRO’s collecting and

handling of a completed voter-registration application as communicating any message.

       Same with the Retention Provision. It just regulates a person who copies or

retains information from a voter-registration application. Copying and retaining is pure

conduct, and copying and retaining a voter’s social-security number conveys no

message at all. So too with the Fines Provision. It prevents conduct—delivering an

application too late or to the wrong location. There’s no speech inherent in this action,

either. A 3PVRO doesn’t communicate any message by sending an application to a

supervisor’s office, as opposed to the Division of Elections. No message is being

conveyed by turning in an application five days before the deadline, as opposed to one.
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      Not content, Plaintiffs confuse the issue by broadly describing “voter-

registration” activity as “convey[ing] a pro-democracy message that potential voters

understand when asked whether they want to register by a 3PVRO canvasser.” NAACP

Br. at 106. In doing so, Plaintiffs conflate the speech that happens before a 3PVRO

canvasser gets a completed application with the conduct that results from it. That

Plaintiffs need to combine speech with conduct is “strong evidence that the conduct at

issue” “is not so inherently expressive that it warrants protection.” Rumsfeld, 547 U.S. at

66. The U.S. Supreme Court even warned lower courts against combining speech and

conduct together: “[w]e cannot accept the view that an apparently limitless variety of

conduct can be labeled ‘speech’ whenever the person engaging in the conduct intends

thereby to express an idea.” United States v. O’Brien, 391 U.S. 367, 376 (1968); see also

Rumsfeld, 547 U.S. at 66.

       To get around this, Plaintiffs cite Meyer v. Grant, 486 U.S. 414 (1988), and Buckley

v. American Constitutional Law Foundation, 525 U.S. 182 (1999). The cases are

distinguishable. Both dealt with petition gathering, and the U.S. Supreme Court viewed

petition gathering as pure speech. E.g., 486 U.S. at 421. But petition gathering is

fundamentally different than 3PVRO activity. The former rallies people around an idea

or proposition. The latter simply gets a voter-registration application from the putative

voter to the proper elections official, thus fulfilling a fiduciary duty under Florida law.

Fla. Stat. § 97.0575(5)(a). Or as the Southern District of Florida put it when discussing

an earlier version of the 3PVRO statute: the State is simply “regulat[ing] an
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administrative aspect of the electoral process—the handling of voter registration

applications by third-party voter registration organizations after they have been collected

from applicants.” Browning, 575 F. Supp. 2d at 1322 (emphasis in the original).

       Put another way, to the extent that any speech is involved, it’s the voter’s speech.

Steen, 732 F.3d at 390. A 3PVRO doesn’t “speak” by handling someone else’s “speech.”

Id.; Voting for Am., Inc. v. Andrade, 488 F. App’x 890, 898 (5th Cir. 2012). A mailman

doesn’t “speak” by handling a lot of letters. For the Citizen Restriction, a canvasser

doesn’t “speak” by taking physical possession of a completed voter-registration

application. For the Retention Provision, a canvasser doesn’t “speak” by copying

information from someone else’s “speech.” And for the Fines Provision, a 3PVRO

doesn’t “speak” by timely driving or mailing applications to the Division of Elections.

       Meyer and Buckley were also concerned with the “quantum of speech” being

reduced by state action. E.g., 486 U.S. at 423. But the facts in this case show that, even

without collecting, handling, copying, or retaining physical voter-registration

applications, 3PVROs can still speak to voters. They can still persuade them to register

to vote and help them register. DX187 (Slater deposition designations); DX83 (Slater

deposition); Tr.405:3-12 (Herrera-Lucha); Tr.417:8-18 (Herrera-Lucha); Tr.1217:9-15

(Scoon); Tr.66:22-25 (Nordlund). That makes Plaintiffs’ reactions to SB7050’s

provisions, particularly the Citizen Restriction, self-harm, given that “one-on-one

communicati[ons]” with voters can still take place. Buckley, 525 U.S. at 215 (O’Connor,



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J., concurring in the judgment in part and dissenting in part); see also Hispanic Federation

Br. at 68-71.

       Plaintiffs also describe the Citizen Restriction as a content-based restriction.

NAACP Br. at 110. They contend that the provision “singles out noncitizen speakers

and prevents them from engaging in a specific form of expression—voter registration.”

NAACP Br. at 110. Again, the issue with this argument is that the provision restricts

who can engage in certain conduct; speech isn’t restricted in the slightest. Any

noncitizen remains free to talk about voter registration with anyone, and remains free

to sign up any potential member or volunteer for any organization. No content of

speech is being restricted.

       In sum, the Citizen Restriction, Retention Provision, and Fines Provision

regulate non-expressive conduct, not speech and not expressive conduct.

                2.   The Provisions Satisfy Strict Scrutiny.

       Even if the provisions regulate speech (which they don’t), and even if strict

scrutiny applies (which it doesn’t), the provisions satisfy the standard. Strict scrutiny

requires a law to be narrowly tailored to serve a compelling governmental interest.

Burson v. Freeman, 504 U.S. 191, 198 (1992). The three provisions serve the same

compelling governmental interests: they prevent voter fraud and promote confidence

in the “electoral process[],” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006), and they maintain

fairness and order, and avoid frustration and deception, in elections, Green v. Mortham,

155 F.3d 1332, 1336 (11th Cir. 1998).
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       Director Darlington’s declaration—a Plaintiffs exhibit, which is in evidence—

provides compelling interests for the Citizen Restriction and Retention Provision.

PX139 at 5-7. So does the 2023 Office of Election Crimes and Security Report. DX14.

In it, the report informed legislators that the office made criminal referrals regarding:

       voter registration agents employed by 3PVROs, who are alleged to have
       committed fraud, engaged in identity theft, changed a voter’s party
       affiliation, registered deceased individuals, or registered fake individuals,
       among other violations. Many of these criminal referrals are still pending
       and remain under active criminal investigation with law enforcement.

DX14 at 5. Obviously, these findings provide support for limiting the universe of

people collecting and handling forms, as well as limiting the information that can be

copied and retained by 3PVROs.

       The report also provides bases for the Fines Provision. The report stated that

the office “reviewed approximately 3,077 voter registration applications that were

collected and submitted untimely by 3PVROs, in violation of section 97.0575, Fla. Stat.

The [office] assessed statutory fines in the amount of $41,600.00 against those 3PVROs

that did not comply with the statutory requirements.” DX14 at 5. That $41,600 figure

equates to $13.52 per untimely application, less than a parking ticket, because of the

then-existing maximums. Consider Hard Knocks. The Department of State alleged that

it would have fined the 3PVRO even more, but for the statutory maximums. PX331

(third letter); PX328 (fourth letter).

       As detailed at great length above and in trial, 3PVROs and their canvassers have

behaved badly—principally in how they (improperly) maintained voter-registration
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applications and how they (improperly) delivered the applications to elections officials.

The Florida Legislature was aware of these issues: legislators received and read the

Office of Election Crimes and Security report and heard testimony about the Hard

Knocks scandal. Local prosecutors were also inundated with 3PVRO complaints and

cases. And Democratic members of the legislature sent a letter to the Attorney General

of the United States not too long ago. PX983 (letter).

      Even so, Plaintiffs focus a great deal of attention on the Citizen Restriction

and contend that the Florida Legislature wasn’t presented with any evidence of

noncitizens behaving badly. E.g., NAACP Br. at 61. Two points on this.

      First, the State didn’t collect data on noncitizen misconduct. That’s because

before SB7050, the election code didn’t prevent noncitizens from engaging in certain

3PVRO actions. The State therefore didn’t need to collect data on this point. Take a

look at the pre-SB7050 fine letters: none noted whether a noncitizen (or citizen)

engaged in the alleged misconduct. Local prosecutors don’t keep data on this point,

either. E.g., Tr.1748:19-25 (Van der Giesen). Even though data wasn’t collected, it’s

beyond dispute that noncitizens have behaved badly when canvassing. E.g., Tr.407:5-

22 (Herrera-Lucha). One Hispanic Federation canvasser (likely a noncitizen) “left for

Mexico for ten days” and failed to deliver voter-registration applications on time.

PX847 (incident email); Tr.586:6-9 (Velez); see also Tr.171:4-19 (Orjuela); Tr.389:8-15

(Herrera-Lucha).



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       And second, even without data, the State can and should act on election-related

issues. The U.S. Supreme Court and the Eleventh Circuit afford the State this wide

latitude, because waiting for an incident (or additional incidents) is not an option when

the public’s confidence depends on perception. Brnovich v. DNC, 141 S. Ct. 2321, 2340,

2343 (2021); Purcell, 549 U.S. at 4; Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 194-

96 (2008); League of Women Voters of Fla. v. Fla. Sec’y of State, 66 F.4th 905, 925 (11th Cir.

2023). This also rebuts Plaintiffs’ argument that the Retention Provision and Fines

Provision aren’t needed, because, as Plaintiffs claim, laws are already on the books to

deter bad behavior. NAACP Br. at 143; Hispanic Federation Br. at 90. Putting aside

State Attorney Fox’s testimony that the then-existing laws on the books were

insufficient to go after Hard Knocks directly, Tr.1793:1-11, the challenged provisions

help boost confidence in the security of the State’s electoral processes.

       What’s more, the three provisions at issue are narrowly tailored to meet the

compelling interests. The provisions regulate and prohibit no more than what’s needed.

With the Citizen Restriction, canvassers can still speak to voters and help them

register to vote. Limiting the provision’s reach to only illegal aliens wouldn’t help. With

noncitizens, there’s always a risk that they can leave the State, given their strong ties to

other countries, and not turn in applications on time. See generally Tr.171:4-19 (Orjuela);

Tr.389:8-15 (Herrera-Lucha). Plus, the noncitizen bad conduct revealed during trial

didn’t come from illegal aliens. Tr.407:5-22 (Herrera-Lucha); PX847 (incident email);

Tr.613:17 – 615:5 (Velez).
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       With the Retention Provision, voters can still sign up for NAACP, Poder

Latinx, and League membership. 3PVROs can also copy some, but not all, information

from voter-registration applications. NAACP Br. at 144.

       And with the Fines Provision, the ten-day deadline still allows 3PVROs to

timely deliver applications, and sending applications to the safe-harbor Division of

Elections prevents a 3PVRO from sending them to the wrong county. In their written

closing, Plaintiffs reference Supervisor Earley’s testimony that he may not see a benefit

to moving the deadline up, “as long as the application is submitted before book

closing.” NAACP Br. at 63. But Supervisor Earley later couched his testimony by

stating that larger counties might see a benefit with the changed deadlines. Tr.739:1-11.

       As for the size of the fines, the Florida Legislature had to draw a line, and it

believed that the line it drew was sufficient to deter misconduct, while not penalizing

honest mistakes. After all, a 3PVRO that turns in one application one day late before

book closing only gets assessed a fine of $50. A 3PVRO can also appeal a fines

assessment to Director Darlington, take their case to the Division of Administrative

Hearings, or seek an advisory opinion from the Division of Elections.

       All told, strict scrutiny is satisfied.

              3.      The Provisions Satisfy Anderson-Burdick .

       a. The Citizen Restriction, Retention Provision, and Fines Provision also

satisfy Anderson-Burdick balancing. It’s a “flexible standard” that assesses the effect of a

regulation on the right to vote. Burdick v. Takushi, 504 U.S. 428, 434 (1992). The “level
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of scrutiny” applied to an election law “depends on the severity of the burdens”

imposed by the law. Indep. Party of Fla. v. Sec’y, State of Fla., 967 F.3d 1277, 1281 (11th

Cir. 2020). A law that imposes a “[s]evere” burden on voting “must be narrowly tailored

to advance a compelling state interest,” while a “reasonable, nondiscriminatory” law

need only be justified by an important governmental interest. Id.

       Mere “inconvenience[s]” can’t tilt the balance. Brnovich, 141 S. Ct. at 2338 n.11.

After all, every election law imposes a burden of some kind:

       Voting takes time and, for almost everyone, some travel, even if only to a
       nearby mailbox. Casting a vote, whether by following the directions for
       using a voting machine or completing a paper ballot, requires compliance
       with certain rules. . . . [V]oting necessarily requires some effort and
       compliance with some rules, [ and voters ] must tolerate the “usual
       burdens of voting.”

Id. at 2338 (quoting Crawford, 553 U.S. at 198). Indeed, “[v]oters must” “take reasonable

steps and exert some effort to ensure,” for example, “that their ballots are submitted

on time.” New Ga. Project v. Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020).

       Anderson-Burdick also doesn’t operate as a “one-way ratchet,” forever prohibiting

States from modifying laws “in a way that might arguably burden some segment of the

voting population’s right to vote.” Ohio Democratic Party v. Husted, 834 F.3d 620, 635

(6th Cir. 2016). To the contrary, cognizable burdens under Anderson-Burdick must

“represent a significant increase over the usual burdens of voting.” Curing v. Raffensperger,

50 F.4th 1114, 1123 (11th Cir. 2022) (quoting Crawford, 553 U.S. at 198). They must, for



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example, pose a significant “risk of disenfranchisement.” Democratic Exec. Comm. of Fla.

v. Lee, 915 F.3d 1312, 1320 (11th Cir. 2019).

       Purported burdens can’t be based on the “unique set of circumstances” of

“specific voters.” League of Women Voters of Fla. v. Fla. Sec’y of State, 4:21-cv-186, 2024

U.S. Dist. LEXIS 21974, at *39 (N.D. Fla. Feb. 8, 2024); see also Crawford, 553 U.S. at

202-03. And purported burdens can’t depend on an isolated reading of certain

provisions of the election code; the code as a whole must be considered. E.g., Brnovich,

141 S. Ct. at 2344. This was the holding of New Georgia Project v. Raffensperger, where the

Eleventh Circuit ruled that Georgia’s absentee-ballot deadline did “not implicate the

right to vote at all,” given that “Georgia has provided numerous avenues to mitigate

chances that voters will be unable to cast their ballots.” 976 F.3d at 1281. �

       In defending an election law, moreover, the State can offer post-hoc

rationalizations to justify the law. Mays v. LaRose, 951 F.3d 775, 789 (6th Cir. 2020). As

the Eleventh Circuit put it, “Anderson does not require any evidentiary showing or

burden of proof to be satisfied by the state government,” “[n]or do the more recent

decisions in Burdick and Crawford.” Common Cause/Ga. v. Billups, 554 F.3d 1340, 1353

(11th Cir. 2009) (citations omitted).

       Weighing burdens against interests is an important aspect of Anderson-Burdick:

“[h]owever severe the burden,” the law must be “warranted ‘by relevant and

legitimate state interests sufficiently weighty to justify the limitation.’” Indep. Party of Fla.,

967 F.3d at 1281-82 (quoting Common Cause/Ga., 554 F.3d at 1352). But this
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“examination offers no license for ‘second-guessing and interfering with’ state

decisions; the Constitution charges States, not federal courts, with designing election

rules.” Curling, 50 F.4th at 1122 (quoting New Ga. Project, 976 F.3d at 1284). Anderson-

Burdick can’t be used as a means to “redline” and replace a reasonable election law with

a “‘better’ option offered by” a plaintiff. Id. at 1125.

       One final point. In conducting Anderson-Burdick balancing, some courts have

considered a particular racial groups’ burden under the law being challenged. E.g., Ohio

Democratic Party, 834 F.3d at 639. But that shouldn’t be the case. The analysis “effectively

turn[s] back decades of equal-protection jurisprudence.” Crawford, 553 U.S. at 207

(Scalia, J., concurring in judgment). Racial-discrimination claims go through (mostly)

the Fourteenth Amendment’s Equal Protection Clause, and the clause requires proof

of discriminatory impact and discriminatory intent. Id. (quoting Washington v. Davis, 426 U.S.

299, 248 (1976)). Considering racial disparate impact in an Anderson-Burdick analysis—

without considering discriminatory intent—does an end-around constitutional

standards. While courts have performed this analysis, that doesn’t mean that the analysis

is constitutionally sound. (As an aside, the Secretary recognizes that the Eleventh Circuit

has said that the Anderson-Burdick test doesn’t require a showing of discriminatory intent,

Democratic Exec. Comm. of Fla., 915 F.3d at 1319; however, the Secretary disagrees and

intends to seek en banc review on the issue when appropriate.)

       True, in Crawford v. Marion County Election Board, and in Democratic Executive

Committee of Florida v. Lee, the courts considered burdens on particular voters. NAACP
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Br. at 126-27. But those voters weren’t divided based on race. For Crawford, it was

“persons who are eligible to vote but do not possess a current photo identification that

complies with the requirements of” a photo-identification law—the elderly, those who

may have difficulty obtaining a birth certificate, persons who have economic or personal

limitations on obtaining a proper identification, homeless persons, and persons with

religious objections to being photographed. 553 U.S. at 198-99. In Democratic Executive

Committee, it was voters who might be disenfranchised by the prevailing signature-

matching scheme. 915 F.3d at 1317. The unique circumstances of voters divided by race

weren’t considered in these cases.

       b. To recap: Anderson-Burdick weighs burdens on the right to vote against state

interests. As an initial matter, however, none of the Plaintiffs are voters suing because

their right to vote is implicated. The individual canvassers are suing because their ability

to work for a 3PVRO is affected. The 3PVROs are suing because they don’t like the

new statutory provisions; the organizations themselves have no right to vote. So,

whether its labeled Article III standing or prudential standing, or a failure to state a

claim, there’s no Anderson-Burdick claim under the circumstances.

       Assuming there is an Anderson-Burdick claim, Plaintiffs haven’t established the

burdens that the three provisions impose. Dr. Herron and Dr. Smith both used the

calculus-of-voting method to conclude that the regulation of 3PVROs would impact

voters. Tr.240:4-8 (Herron); Tr.1073:8-15 (Smith). Both agreed that the calculus of

voting comes from principles of microeconomics. Tr.240:9-15 (Herron); Tr.1141:15-17
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(Smith). Both also said that there are two components to this analysis: costs and

benefits. Tr.240:9-15 (Herron); Tr.1142:6-9 (Smith). The analysis assumes that the

person whose behavior is being predicted is a rational actor—someone who wants to

“maximize utility.” Tr.1142:6-9 (Smith). The analysis applies on an individualized basis

to a “specific individual” in a “specific circumstance.” Tr.1141:2-14 (Smith).

      There are, of course, problems with a methodology that assumes voters to be

rational, and that extrapolates from specific instances and specific voters an effect on

the larger electorate. As Dr. Stein testified, empirical data undercuts the methodology.

Tr.1670:13 – 1674:4 (Stein). Take, for instance, voter-identification laws. They impose

a cost, but voter turnout actually increases (rather than decreases) after the passage of

such laws. Conversely, additional early-voting days decrease costs, but turnout actually

decreases (rather than increases). Tr.1670:13 – 1674:4 (Stein). In real-life then, the

methodology is anything but certain to establish an expected impact on voters.

      Setting aside the empirical problems with the calculus-of-voting method, neither

Dr. Herron nor Dr. Smith assessed the benefits related to SB7050. They held benefits

constant. Tr.318:6 – 322:10 (Herron); Tr.1141:25 – 1142:24 (Smith). Though Dr.

Herron and Dr. Smith acknowledged that one of the benefits associated with voting is

the notion that one’s vote will matter, neither would concede that for some voters,

some of the time, a sense of greater election integrity (brought by reforms such as

SB7050) could increase the benefits. Tr.322:12 – 323:14 (Herron); Tr.1142:25 – 1143:9

(Smith). Failing to concede the obvious undercuts the credibility of these experts.
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Importantly, holding one side of the equation constant and then saying that voters are

adversely impacted tells only part of the story.

      Another principle of microeconomics was ignored: the substitution

effect. Plaintiffs’ experts studied, to varying degrees, the effect of increasing costs on

one mode of voter registration: registration through 3PVRO. E.g., Tr.250:10-19

(Herron); Tr.1089:12-19 (Smith). When asked what constitutes a 3PVRO activity, Dr.

Smith sensibly deferred to the State and conceded that he didn’t quite know. Tr.1106:12

– 1112:19. Dr. Herron, in the rebuttal case, talked about how the other modes of

registering are not substitutes for 3PVRO activity. E.g., Tr.2005:6-10. Yet his testimony

proves the opposite. Dr. Herron considers the handing out of blank forms and stamped

return envelopes to be a 3PVRO activity (though it’s not). Tr.2007:2 – 2011:9. Put

another way, he concedes that this method of registering voters is a perfect substitute.

It’s one the League of Women Voters actually engages in at this very moment.

Variations of this are also abound, from Poder Latinx’s “online first” method to the use

of iPads and QR codes by the same people and same organizations in the same

communities. But none of these perfect substitutes were considered in the analysis.

      Less-than-perfect substitutes weren’t considered either. Dr. Herron agreed that

having voter-registration applications available at every public building could affect the

outcome. Tr.328:12 – 329:19. He didn’t study it though. The problem here is that voter-

registration applications are available at nearly every public building from libraries and

tax collector’s offices to the Social Security Administration and Veterans Affairs
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building. They’re also available at Walmarts (because people can get hunting or fishing

licenses there). These are substitutes. So is voting online or through the DMV. These

are substitutes that weren’t appropriately considered as offsets to any cost imposed on

voters because of the difficulty (however that’s measured) imposed through SB7050.

       In addition, the data set that Dr. Herron and Dr. Smith relied on is flawed for

reasons beyond what this Court recognized in its colloquy with the experts. Both

experts used the state voter-registration files to look-up data on the method of

registration. E.g., Tr.331:11-14 (Herron); Tr.1113:10-12 (Smith). The data files do not

have the method of registration available for all voters; 17.08% of that data is missing

in the file. PX969 (table); Tr.1119:16 – 1122:21 (Smith). Even when that data is isolated

to registrations since 2012, which Dr. Smith did, over 10% of that data is missing.

PX971 (table); Tr.1122:23 – 1124:10 (Smith). The data files were also used to link

method of registration to the race of a voter. E.g., Tr.286:1-20 (Herron); Tr.1124:15-25

(Smith). But the reporting of racial data is voluntary, DX13 (voter-registration

application); it’s not needed to register to vote. Many voters don’t report racial data, so

there’s a gap in the data—the “other” category of registrants outpaces other races in

various categories. E.g., PX973 (table); Tr.1126:23 – 1127:21 (Smith). So, when

discussing the racial implications of the impacts of SB7050, the experts, all of them, are

just guessing. They don’t actually know the race of a significant subset of the electorate.

      Finally, taking a more holistic look at the analysis presented, Plaintiffs say that

the Florida Legislature intended to and did target one of the preferred methods of
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registering for black and brown voters. That’s just wrong. Start with Dr. Herron’s

corrected tables comparing citizen-voting age population (“CVAP”) to the number of

people actually registered to vote. E.g., PX979 (corrected table). Though CVAP isn’t a

perfect gauge of the number of eligible voters, it’s the best we have, because it takes

children and non-citizens out of the assessment. See generally Tr.1131:14 – 1132:10

(Smith). And looking at that number for all Floridians, regardless of race, reveals that

over 90% of eligible Floridians are registered to vote. Tr.350:5-10 (Herron). When

broken down by race, over 90% of black Floridians are registered as well. PX979

(corrected table). Of the remaining eligible but unregistered black voters, 9.98%,

according to Dr. Herron’s assessment, will only use 3PVROs. PX979 (corrected table).

So, in Plaintiffs’ telling, the Florida Legislature knew enough (using regressions and

whatnot) to target a small subset of an even smaller subset of eligible black voters

through SB7050. That’s hard to believe. And it hasn’t been proven.

       As such, SB7050’s burdens are minimal, if any. The state interests, by

comparison, are weighty. As explained in the strict-scrutiny analysis, the State advances

compelling interests that are backed in fact. This makes the Anderson-Burdick balancing

easy: no burdens and weighty interests means that the three provisions withstand

scrutiny. Even if the State’s interests aren’t compelling, they are still important, and the

provisions still satisfy Anderson-Burdick. Browning, 575 F. Supp. 2d at 1324-25.




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             4.     The Provisions Satisfy Rational Basis.

      If rational basis applies, Steen, 732 F.3d at 392-93, the Citizen Restriction,

Retention Provision, and Fines Provision satisfy it. Rational-basis review comes with

a presumption that the challenged law is constitutionally valid, and it only requires that

a law be supported by a reasonable justification. FCC v. Beach Comm’ns, 508 U.S. 307,

315 (1993). Rational speculation works, too. Id. And it’s for the challenging party to

“negative every conceivable basis which might support” the law. Id.

      Under this standard, the provisions are easily constitutional. The interests

underlying them are weighty, the issues they prevent are real, and Plaintiffs can’t

negative every basis to support the provisions.

      B.     The Citizen Restriction, Retention Provision, and Fines
             Provision Don’t Violate First Amendment Free Association.

      Next, Plaintiffs contend that the Citizen Restriction, Retention Provision,

and Fines Provision impede their First Amendment rights to free association.

Plaintiffs are wrong. None of the provisions prevent Plaintiffs from associating with

anyone while canvassing. Any organization and any canvasser can associate with

anyone. Any conversation can be had on any subject by anyone. Any person can join

or become a member of any 3PVRO. Even with some of the provisions in place,

Plaintiffs have many means to associate with anyone and add members and volunteers.

      Put differently, the Citizen Restriction, Retention Provision, and Fines

Provision don’t limit association; they just prescribe and proscribe certain 3PVRO

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conduct—who can collect and handle filled-out voter-registration applications,

prohibiting copying and retaining certain information, and requiring applications to be

sent to the right place at the right time.

       This case isn’t the classic free-association case, where a private group tries to

prevent association with potential members, and the government tries to compel

association. E.g., Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557,

560-65 (1995); Roberts v. U.S. Jaycees, 468 U.S. 609, 612-17 (1984). The State isn’t forcing

anyone to associate with anyone. Nor is the State preventing anyone from associating

with anyone. The right to free association therefore isn’t even triggered in this case.

       Even if it was, strict scrutiny, Anderson-Burdick, and rational-basis review would

be satisfied—for the reasons already expressed. The compelling interests are the same,

and narrow tailoring is met, since the provisions don’t limit association at all. Plaintiffs

just haven’t established any concrete evidence that the provisions hamper association.

Some 3PVROs may have unnecessarily pared back and adjusted their operations, but

Plaintiffs can’t self-injure themselves into constitutional harm.

       And true, some Plaintiffs have changed their hiring practices due to the Citizen

Restriction. But the provision affects free association in no way different from laws

that prevent certain felons from becoming schoolteachers, prison guards, and lawyers.

Doc.87, 4:23-cv-216 (collecting citations). The right to free association doesn’t mean

that anyone can be hired to do anything.



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       C.     The Citizen Restriction, Retention Provision, and Fines
              Provision Don’t Violate the Equal Protection Clause.

       Plaintiffs then allege that SB7050’s Citizen Restriction, Retention Provision,

and Fines Provision violate the Equal Protection Clause. This challenge contains two

parts. NAACP Br. at 118. The first part is an as-applied equal-protection challenge to

the Citizen Restriction, even though this Court already granted Plaintiffs’ facial, equal-

protection challenge to the Citizen Restriction. This, of course, is redundant:

prevailing on a facial challenge obviates an as-applied challenge. Even if it doesn’t, the

Secretary already provided his defense of the Citizen Restriction earlier in this case,

and he incorporates and adopts those arguments here. E.g., Doc.222, 4:23-cv-215.

       The second part of Plaintiffs’ challenge is an Arlington Heights intentional-

discrimination claim. True, intentional discrimination doesn’t mean discriminatory

malice. E.g., Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 269-71 (1993). But

intentional discrimination still requires that governmental officials “selected or

reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in spite

of,’ its adverse effects upon an identifiable group,” Pers. Adm’r of Mass. v. Feeney, 442 U.S.

256, 279 (1979) (emphasis added). That’s not nothing. It’s a serious charge: that voters’

elected officials acted, at least in part, for impermissible reasons.

       Another point bears noting: it’s hard to glean the legislative intent of a multi-

person body. It’s “a problematic and near-impossible challenge.” Greater Birmingham

Ministries v. Sec’y of Ala., 992 F.3d 1299, 1324 (11th Cir. 2021). One legislator doesn’t

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speak for all legislators, O’Brien, 391 U.S. at 384, and one legislator’s comments on one

bill shouldn’t be used to glean his intent on another bill, Greater Birmingham Ministries,

992 F.3d at 1324.

      The task is tough enough when governmental officials act on a single and discrete

matter, like hiring or firing one employee. See generally Matthews v. Columbia County, 294

F.3d 1294, 1295 (11th Cir. 2002). That’s because:

      Lawmakers’ support for legislation can come from a variety of sources:
      one [lawmaker] may support a particular piece of legislation for a blatantly
      unconstitutional reason, while another may support the same legislation
      for perfectly legitimate reasons. A well-intentioned lawmaker who votes
      for the legislation—even when he votes in the knowledge that others are
      voting for it for an unconstitutional reason and even when his
      unconstitutionality motivated colleague influences his vote—does not
      automatically ratify or endorse the unconstitutional motive. If we adopt
      the rule suggested by Plaintiff, the well-intentioned lawmaker in this
      hypothetical would be forced to either to vote against his own view of
      what is best for his [state] or to subject his [state] to Section 1983 liability.
      We think the law compels no such outcome.

Matthews, 294 F.3d at 1298. The task gets significantly harder when the officials act on

many matters all at once, like an omnibus elections package. A lawmaker may have

supported the package because he liked one non-challenged provision. Or he may have

supported a challenged provision for a purely non-discriminatory reason. That makes

intent gleaning even more impossible.

      All that said, the intentional-discrimination analysis considers several non-

exhaustive factors: the impact of the challenged action, historical background, the

sequence of events leading up to the action, procedural and substantive departures of

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the governmental body in taking the action, contemporary statements and actions of

key governmental officials, foreseeability of the disparate impact, knowledge of the

impact, and availability of less discriminatory alternatives. Greater Birmingham Ministries,

992 F.3d at 1322. If these factors demonstrate discriminatory impact and intent, then

the burden shifts to the State to demonstrate that the law would have been enacted

regardless of the discriminatory impact or intent. Id. at 1321. What’s more, throughout

the analysis, the presumption of good faith must be applied. Abbott v. Perez, 138 S. Ct.

2305, 2324-25 (2018).

       Presumption of Good Faith. The presumption of good faith is a mandatory

presumption. Miller v. Johnson, 515 U.S. 900, 916 (1995). Under it, elected officials are

presumed to have taken constitutional actions.

       The presumption means that the parties don’t start out with scales in equipoise;

instead, the presumption is a default factual inference that governmental officials acted

in good faith. See, e.g., League of Women Voters of Fla. v. Fla. Sec’y of State, 32 F.4th 1363,

1373-74 (11th Cir. 2022). For example, when a court considers a statement from a

legislator, it should presume that the statement was made in good faith, and shouldn’t

“read” it “to demonstrate discriminatory intent” and impute that intent on “the state

legislature.” Id. at 1373.

       Therefore, to overcome the presumption, “only the clearest proof will suffice.”

Smith v. Doe, 538 U.S. 84, 92 (2003); see also United States v. Armstrong, 517 U.S. 456, 464-

65 (1996). Indeed, the U.S. Supreme Court has reversed discriminatory intent findings
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even when they were supported by “a modicum of evidence.” Easley v. Cromartie, 532

U.S. 234, 257 (2001).

      Dr. Lichtman’s analysis did the opposite. On direct, he testified about legislative

details and inferred bad faith from them. He didn’t include any kind of exculpatory facts

on direct—facts that would weigh against his discriminatory-intent conclusions. When

presented with exculpatory facts on cross, he used them to further infer bad intent on

the Florida Legislature.

      To Dr. Lichtman, his racial-ideology and “immigrant threat narrative” wasn’t

undermined by the fact that sons and daughters of immigrants, as well as racial

minorities, have held and currently hold positions of power in Florida’s government.

Tr.1614:22 – 1620:5; NAACP Br. at 42. That Florida has a black surgeon general, Dr.

Lichtman opined that the surgeon general “may have had black skin, but, in fact, he

mirrored a lot of the [racial and radical] ideology of Republicans: He was a vax denier;

he didn’t hue to proper science; he was found to have misrepresented some of his

scientific work,” so that “hardly” “demonstrates that this is a guy who’s reaching out

somehow to enhance the minority community.” Tr.1616:1-17. In other words, Dr.

Lichtman presumed bad faith.

      That two of the highest-ranking education officials in Florida are Hispanic didn’t

matter, either: “they may have Hispanic surnames, but you often have people who

might have Hispanic surnames or black skin who still don’t represent a contrary

ideology. These are, as I remember correctly,” “these are Republican politicians that”
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Governor DeSantis “appointed.” Tr.1616:19 – 1617:2. Those exculpatory facts didn’t

matter to Dr. Lichtman. Bad faith was presumed. Same with Governor DeSantis’s

diverse appointments to the Florida Supreme Court. To Dr. Lichtman, none of it

mattered, and bad faith was presumed. Tr.1617:3-13.

      Same with the fact that Governor DeSantis won the majority of the Hispanic

vote in the last gubernatorial election. A fair and good-faith inference from this fact

would be that it would be politically unthinkable for Republicans to target a

demographic that contributed to their landslide victory. But to Dr. Lichtman, it was yet

another conclusive reason why SB7050 was passed with discriminatory intent.

Tr.1617:14 – 1620:5. Bad faith was again presumed.

      In short, the presumption of good faith exists to prevent this kind of assume-

discrimination-first, view-the-facts-accordingly-second analysis. The presumption

holds that voters don’t elect officials who take actions for impermissible reasons, and it

adheres to federalism principles by respecting the actions of state government.

      Chief Justice Marshall put it best: holding that a governmental official had

improper intent is “a question of much delicacy, which ought seldom, if ever, to be

decided in the affirmative, in a doubtful case.” Fletcher v. Peck, 10 U.S. 87, 128 (1810).

This isn’t a doubtful case: Plaintiffs nowhere approach the evidence needed to

overcome that presumption.

      Impact. Plaintiffs failed to prove disparate impact or effect on black and

Hispanic voters. As explained in the Anderson-Burdick discussion, Dr. Herron and Dr.
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Smith don’t make the necessary link from the limited data. Plaintiffs’ otherwise self-

serving testimony doesn’t work, either.

       All of that means that Plaintiffs failed to prove discriminatory impact or effect.

That alone should doom their claim. See generally Greater Birmingham Ministries, 992 F.3d

at 1321. But for completeness, other factors will be considered.

       Historical Background. Dr. Lichtman testified about historical background.

NAACP Br. at 41. While it “focused almost entirely on twenty-first century history,”

NAACP Br. at 41, Dr. Lichtman’s analysis relied on details that shouldn’t be considered

in an Arlington Heights analysis: mostly, actions by executive agencies and actions by

earlier and differently constituted legislatures. That doesn’t count. Greater Birmingham

Ministries, 992 F.3d at 1322-24; Common Cause Florida v. Byrd, 4:22-cv-109, 2024 U.S. Dist.

LEXIS 54503, at *88-89 (N.D. Fla. Mar. 27, 2024) (three-judge court).

      If that wasn’t enough, the Eleventh Circuit, in reviewing an overlapping survey

of historical background in the SB90 appeal, found that that history didn’t demonstrate

discriminatory intent. 66 F.4th at 922-24. That conclusion doesn’t change here.

       Events Leading Up to SB7050, Procedural and Substantive Departures.

SB7050’s legislative history is unremarkable. If anything, it shows there were well-

known instances of 3PVRO misconduct before and during the 2023 legislative session.

The Hard Knocks scandal was being publicized at the time, and Secretary Byrd further

publicized it. Tr.1793:23 – 1795:4 (Fox); PX250 54:1 – 55:6 (Byrd). The Office of

Election Crimes and Security published its 2023 report, which documented 3PVRO
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issues. DX14 at 5. It was sent to the senate president and speaker of the house, and

legislators received it and read it. Tr.499:1-4 (Torres); Tr.925:2-6 (Eskamani); PX246

34:22 – 35:4 (Burgess). This shows that there was a problem with 3PVROs that needed

fixing.

          There was nothing unusual—procedurally or substantively—about SB7050’s

introduction or passage. Lake County Supervisor of Elections Hays, a veteran of the

Florida Legislature, followed SB7050’s legislative process and reached the same

conclusion. Tr.1820:3 – 1821:3. Even so, Plaintiffs contend that its introduction,

halfway through the legislative session, was odd. E.g., NAACP Br. at 56. It wasn’t odd.

As Senator Burgess explained, SB7050 didn’t become law on April 4, 2023, and it took

a while to get a draft of an omnibus elections package. PX246 30:24 – 31:25 (Burgess);

PX246 110:7 – 112:4 (Burgess).

          That SB7050 was a proposed committee substitute is also unremarkable.

According to Senator Torres, he’s seen proposed committee substitutes “over 50

percent of the time” in his long legislative career. Tr.487:10 – 488:4. Proposed

committee substitutes are expressly allowed by the Senate Rules, Fla. Sen. R. 2.39, and

have different filing and procedural requirements than member-filed bills, Tr.487:10 –

488:4 (Torres); PX246 110:7-11 (Burgess). The Florida Legislature can’t depart from its

own procedures by following its own procedures. See generally Hall v. Holder, 117 F.3d

1222, 1230 (11th Cir. 1997).



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      The legislative records demonstrate that SB7050 was debated by legislators, was

commented on by members of the public, and received analysis, criticism, and support.

Again, none of this is remarkable. Nor is Plaintiffs’ focus on public-comment time

limitations. NAACP Br. at 136. At most, Plaintiffs assert that “[m]ost committees that

Representative Eskamani serves on do not have a time limit at all.” NAACP Br. at 56-

57. Left unsaid is whether Representative Eskamani’s other committees pass high-

profile legislation that engenders high-volume public comment and thus time limits on

public comment. And left unmentioned is that time limitations were also in place while

Secretary Byrd provided his initial public comments on SB7050. PX248 68:19-20.

      True, Secretary Byrd provided additional comments, though he provided

additional comments after legislators asked him questions. PX248 69:7-8. Including

Representative Eskamani. PX248 69:21-25. This too is unremarkable: public

commentators with specific subject-matter experience receive questions from

legislators after providing initial public comments. E.g., PX248 73:18-20 (Ramba);

PX250 88:10-20 (Earley, although the transcript identifies him as “Ali”).

      If that wasn’t enough, Plaintiffs add that Dr. Lichtman “also found two major

substantive deviations when he compared SB 7050 to other Florida legislation.”

NAACP Br. at 136. The first was that noncitizens have never been previously prevented

from “current or future employment with” “3PVROs.” Tr.1531:12-17 (Lichtman). The

second was that the fines amount was, in his estimation, a large “escalation.”



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Tr.1531:18-22 (Lichtman). (He then discussed other States’ practices and processes, but

that has no bearing on Florida’s substantive procedures. Tr.1531:23-24.)

       Dr. Lichtman’s findings are unconvincing. For starters, the Citizen Restriction

doesn’t prevent employment; it just states that a noncitizen can’t perform a discrete and

insular task while working for a 3PVRO. Noncitizens can still work for 3PVROs and

help voters register. And as for the escalations, Dr. Lichtman himself stated that fine

amounts have been going up: from “just” “[$]1,000 for 15 years” and then recently

“$50,000.” Tr.1531:18-22 (Lichtman). In this light, the Fines Provision hardly seems

like a departure from a trend.

       All told, there are no substantive and procedural departures.

       Contemporary Statements and Actions. Plaintiffs rely on the statements,

post-hoc descriptions, and historical analysis from SB7050’s political opponents, like

Senator Torres and Representative Eskamani. E.g., NAACP Br. at 46-47. But “the

concerns expressed by political opponents during the legislative process are not reliable

evidence of legislative intent.” League of Women Voters of Fla., 66 F.4th at 940 (citing Ernst

& Ernst v. Hochfelder, 425 U.S. 185, 203 n.24 (1976)).

       Statements from supporters should only be considered. And yet, out of all of the

senators and representatives who supported SB7050, only a tiny fraction provided

statements on the bill during the legislative session. So Plaintiffs can only rely on a tiny

subset of legislative statements. But, as case law makes clear, a handful of statements



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from a handful of legislators doesn’t lead to the conclusion that “the legislature as a

whole was imbued with” particular “motives.” Brnovich, 141 S. Ct. at 2349-50.

      Plus, the Republican’s legislative supermajority should also factor into the

analysis. As the party with complete legislative power, they didn’t need to provide any

statement on SB7050 or present any evidence to justify it. And they didn’t need to

provide any responses to SB7050’s critics. Case law doesn’t impose a duty on a

legislative supermajority to pay attention to its critics, to respond to those critics, and

to present courtroom-style evidence to justify legislation.

       At best, SB7050’s supporters provided commonsense rationales to justify the

bill. It makes sense to narrow the universe of people who collect and handle documents

with sensitive information. It makes sense to protect that information and to ensure

timely and proper delivery of voter-registration applications. SB7050’s provisions make

sense. Comments from its supporters confirm that.

      Plaintiffs are simply wrong in stating that legislators commented that “U.S.

citizens” are “superior[]” to noncitizens, and that “all noncitizens” are “illegals.”

NAACP Br. at 122. These gross mischaracterizations aren’t in the legislative record.

       Foreseeability & Knowledge of Disparate Impact. Again, Plaintiffs didn’t

prove impact. So, state legislators couldn’t foresee and have knowledge of an impact

that didn’t and couldn’t happen. Even so, for this factor to favor Plaintiffs, state

legislators would have needed to listen to SB7050’s critics’ concerns about its potential



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impact, and state legislators would have needed to have been shown the kind of

advanced calculus used by Plaintiffs’ experts.

      Plaintiffs can’t establish any of this. As explained above, they can’t prove that

SB7050’s supporters were receptive to its critics’ statements, and the legislative record

doesn’t evidence any discussions of difference-in-difference analyses or logical

regression analyses. Senator Torres and Representative Eskamani don’t remember it.

Tr.494:4-13 (Torres); Tr.925:21 – 926:7 (Eskamani).

       Plaintiffs also note that “Supervisor Earley testified that he also communicated

to individuals at the state level who worked on SB 7050 that the increased fines could

have a detrimental impact on 3PVROs.” NAACP Br. at 57. Who are those state-level

individuals? That remains unclear. Did he speak to only Senator Torres and

Representative Eskamani? Still unclear. After all, Representative Eskamani proposed

amendments to SB7050, Tr.923:1-9, and therefore “work[ed] on th[e] bill,” Tr.742:15-

18 (Earley).

      Then Plaintiffs mention the “two letters that were sent to members of the

legislature that demonstrated that” the members “both knew and should have foreseen

‘the crippling effects’ that the fines and regulations would have on 3PVROs.” NAACP

Br. at 58. What members of the legislative majority actually received and read this letter?

That still remains unclear.

      Alternatives. As less-discriminatory alternatives, Plaintiffs propose several:

same-day registration, moving book closing, decreasing fines, modifying the Citizen
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Restriction to apply only to illegal aliens, and delaying the implementation of SB7050.

NAACP Br. at 58-59.

       The first two alternatives aren’t alternatives at all. Plaintiffs can’t just throw out

any alternative and say it’s less discriminatory. They have to prove that it’s a feasible

alternative. They haven’t done that for same-day registration: they have provided no

evidence whatsoever that it’s feasible to make a substantial change to Florida’s

registration scheme. In fact, Plaintiffs propose this alternative, in spite of the Secretary

telling the Florida Legislature that it would be a “terrible idea” that “undermines our

very ability to verify whether or not” “individuals are eligible to vote.” PX248 69:9-18.

The same is true with moving book closing. Not only would this lead to considerable

confusion about election deadlines for federal, state, and local elections, not even Dr.

Lichtman—Plaintiffs’ expert for all seasons—established that it was feasible.

       As for the remaining alternatives, the Florida Legislature didn’t need to “adopt

any amendment that a bill’s opponents claim would improve it.” League of Women Voters

of Fla., 66 F.4th at 940.

       SB7050 Would Have Passed Anyway. Even assuming that Plaintiffs can make

out these factors (which they can’t), SB7050 would have passed anyway. Again, it’s an

omnibus elections package with a resign-to-run provision that helped Governor

DeSantis’s presidential campaign. SB7050 also addressed Florida’s growing problem

with 3PVROs. PX246 60:6 – 62:10 (Burgess); DX14; see also PX250 55:18- 56:5 (Byrd);



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PX252 27:1 – 28:3 (Burgess). Its provisions deter bad conduct and help law

enforcement find bad actors. It would have passed anyway.

       In sum, Plaintiffs’ equal-protection claims fail.

       D.     The Citizen Restriction and Retention Provision Aren’t
              Vague Under the Fourteenth Amendment or Overly Broad
              Under the First Amendment.

              1.     The Provisions Aren’t Vague.

       Next, Plaintiffs contend that the Citizen Restriction and Retention Provision

are unconstitutionally vague. A vague law must be “utterly devoid of a standard of

conduct.” High Ol’ Times, Inc. v. Busbee, 673 F.2d 1225, 1228 (11th Cir. 1982). That means

that the law must contain no core meaning. SisterSong Women of Color Reproduction Just.

Collective v. Governor of Ga., 40 F.4th 1320, 1327 (11th Cir. 2022). But that’s just not this

case. Here, both provisions have a core and understandable meaning.

                     a.     The Citizen Restriction Isn’t Vague.

       The Citizen Restriction has a core meaning. Plaintiffs know it. The League of

Women Voters knows exactly what conduct is being regulated: the “requirements and

prohibitions under Senate Bill 7050 are ONLY triggered when volunteers actually

collect or physically possess the voter completed [sic] registration application from the

applicant.” PX786 at 2 (League email). That’s exactly right. That’s how the State

describes the regulated conduct. Doc.92 at 22-24, 4:23-cv-215 (response in opposition

to preliminary-injunction motion).

       Mr. Norlund seems to understand the meaning of the provision as well:
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       Q.         Mr. Nordlund, Unidos, as we just discussed, provides fairly
                  extensive training on how canvassers can do their jobs.

                  Based on those job responsibilities, would you say that Unidos
                  canvassers engage in any kind of policymaking?

       A.         No, they’re – they’re just there to collect voter registrations.

Tr.50:2-7.

       Canvasser-Plaintiffs know what the terms mean. For example, Mr. Orjuela

testified that:

       Q.         When you’re working as a canvasser, would you say that you collect
                  voter registration applications?

       A.         Yes, during the day I hold where I have the registrations that are
                  filled out during the day.

       ...

       Q.         And have you, in fact, always turned in all of the voter registration
                  applications you’ve collected or handled?

       A.         Yes, I have always turned them in.

Tr.157:25 – 158:9; Tr.158:23-25.

       Even the Southern District of Florida knows what “collect” and “handle” means

in the 3PVRO context: “[t]he undersigned agrees that the collection and handling of

voter registration applications is not inherently expressive activity.” Browning, 575 F.

Supp. 2d at 1319. Plaintiffs note that Supervisor Earley doesn’t understand the meaning

of “collecting” or “handling” (or “personal information”), but he doesn’t enforce the

provision. NAACP Br. at 65-66.

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       So Plaintiffs (and the Southern District) know the core meaning of a purportedly

vague statutory provision. To get around this, Plaintiffs snipe at the edges of the

provision’s meaning. They throw out endless hypotheticals about activity that might,

possibly, maybe, not, fall under the Citizen Restriction.

       That’s not the test. It’s not death by a thousand hypotheticals: “speculation about

possible vagueness in hypothetical situations not before the Court will not support a

facial attack on a statute when it is surely valid in the vast majority of its intended

applications.” United States v. Wayerski, 624 F.3d 1342, 1349 (11th Cir. 2010). And such

situations are better served for as-applied challenges, not facial challenges. SisterSong, 40

F.4th at 1328. Such situations also provide a reason to seek an advisory opinion.

                     b.     The Retention Provision Isn’t Vague.

       The Retention Provision isn’t vague, either. This Court already found its core

meaning: “the challenged provision prohibits individuals who engage directly with

voters and collect completed applications from the voters from copying those

completed applications for their own personal use.” Doc.101 at 42, 4:23-cv-215. That

should be the end of the matter. Even so, the Retention Provision clearly explains (1)

who it applies to, (2) what information falls under its reach, and (3) what conduct is

prohibited.

       i. The “who” is clear: “a person collecting voter registration applications on

behalf of a third-party voter registration organization.” Fla. Stat. § 97.0575(7). These

are not people who merely solicit applications. We know this because the same statute,
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in another subsection, tells us that soliciting is different than collecting. 3PVROs must

register and provide to the Department of State the “names, permanent addresses, and

temporary addresses” “of each registration agent registering persons to vote in this state

on behalf of the organization.” Id. § 97.0575(1)(c). But the registration requirement

“does not apply to persons who only solicit applications and do not collect or handle

voter registration applications.” Id. (emphasis added) So a person who’s merely asking

a passerby to fill out an application—who’s soliciting—isn’t subject to the Retention

Provision.

       Nor is a person who’s only handling a voter registration application subject to

the Retention Provision once it’s been collected from a prospective voter. The statute,

in various subsections, references both collecting and handling. Id. § 97.0575(1)(c),

(1)(e), (1)(f). In other instances, it refers to just collecting. Id. § 97.0575(4), (5)(a)3., (6),

(7). The two words thus have different meanings. The commonly understood meaning

of “collect” is “to gather” “from a number of persons.” Merriam-Webster’s Collegiate

Dictionary 243 (11th ed. 2005). And the commonly understood meaning of “handle” is

to “manage with the hands.” Id. at 565. Read in the context within which it appears in

§ 97.0575, a person can “collect or handle voter registration applications,” Fla. Stat.

§ 97.0575(1)(c), though the collecting happens when a person gathers an application

from a prospective voter, and the handling happens when a person takes the steps

necessary to deliver the completed application to the appropriate elections official. See

id. § 97.0575(5)(a).
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       Put another way, the Retention Provision applies to Royal Sheperd when he is

canvassing—when he is collecting voter-registration applications with a prospective

voter’s drivers license number, social-security number, and signature on it. And it

applies to Esperanza Sanchez, when she’s collecting applications, though not when

she’s handling applications collected by others (perhaps to sort them by the applicant’s

county of residence) before delivering the applications to the relevant supervisor of

elections.

       ii. The information protected by the provision is also clear: “voter’s personal

information, such as the voter’s Florida driver license number, identification card

number, social-security number, or signature.” Fla. Stat. § 97.0575(7). To understand

“voter’s personal information,” look at the following list: “Florida driver license

number, Florida identification card number, social security number, or signature.” It’s

all sensitive information. It’s all information that an elections official would use to

confirm a vote-by-mail ballot or to catch election fraud. E.g., Tr.1825:11-21 (Hays);

Tr.1918:14 – 1919:14 (Matthews); Tr.1920:14 – 1921:2 (Matthews). It’s the information

that a supervisor of elections would redact if sent a public-records request. DX13

(voter-registration application). Indeed, as the voter-registration application itself says,

it’s the only information not subject to disclosure. DX13 (voter-registration application).

       Accordingly, the Retention Provision doesn’t protect a voter’s name, address,

telephone number, email address, party affiliation, or race. Again, all of this information

isn’t like a drivers license number, identification number, social-security number, or
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signature. The Retention Provision doesn’t protect information that the State would

have to turn over in a public-records request.

      iii. And the prohibited conduct is clear as well. Under the Retention Provision,

“a person collecting voter registration applications on behalf of a third-party voter

registration organization” can’t “cop[y] a voter’s application or retain[] a voter’s

personal information” “for any reason other than to provide such application or

information to the third-party voter registration organization in compliance with this

section.” Fla. Stat. § 97.0575(7). This has a simple meaning: “to provide such application

or information to the [3PVRO] in compliance with this section” means “turning the

applications over to the 3PVRO for delivery to the appropriate elections official within

the time afforded by the statute.” Doc.101 at 44, 4:23-cv-215.

             2.     The Provisions Aren’t Overly Broad.

      Plaintiffs also contend that the Citizen Restriction and Retention Provision

are overly broad. An overbreadth challenge is “strong medicine” and shouldn’t be

“casually employed.” United States v. Williams, 553 U.S. 285, 293 (2008). An overly broad

law must have realistic, and not fanciful, unconstitutional applications, and those

unconstitutional applications must be “substantially disproportionate to the” law’s

“lawful sweep.” United States v. Hansen, 143 S. Ct. 1932, 1939-40 (2023).

      Plaintiffs’ challenge fails. For starters, neither the Citizen Restriction nor

Retention Provision (or any of the other challenged provisions, for that matter)

regulate speech. So Plaintiffs’ can’t establish an overbreadth challenge. What’s more,
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Plaintiffs and their experts—throughout trial—have described the speech-related

activities that Plaintiffs can still pursue, even with the two provisions. For example,

Unidos can still advertise voter-registrations online. Same with Poder Latinx; its policy

is to register voters online first. The NAACP can still talk to voters and encourage them

to register online. So too with the League. Even with the Citizen Restriction and

Retention Provision, Plaintiffs can still go into the same communities, still engage in

the same conversations, and still try to register people to vote. The only difference is

that noncitizens can’t physically possess filled-out voter-registration applications, and

that canvassers can’t retain a voter’s social-security number.

       Sure, Plaintiffs may “conceive some” purported “impermissible applications” of

the provisions, “but that alone is insufficient to render the provisions substantially over-

broad and therefore facially invalid under the First Amendment.” Cheshire Bridge

Holdings, LLC v. City of Atlanta, 15 F.4th 1362, 1377 (11th Cir. 2021) (cleaned up).

“Perfection is not required to survive an overbreadth challenge.” Id. at 1378 (cleaned

up).

       E.     The Mail-In Ballot Request Provision Doesn’t Violate the
              Voting Rights Act.

       Finally, Plaintiffs contend that the Mail-In Ballot Request Provision violates

the Voting Rights Act. It doesn’t. Section 208 of the VRA provides that “[a]ny voter

who requires assistance to vote by reason of blindness, disability, or inability to read or

write may be given assistance by a person of the voter’s choice, other than the voter’s

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employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C.

§ 10508. Assuming that private parties can enforce § 208, which the Secretary isn’t

conceding, and that Plaintiffs have standing, which the Secretary disputes, Plaintiffs still

can’t show that Florida law is inconsistent with (and therefore preempted by) § 208.

That’s because other provisions of the Florida Election Code, when read together with

the Mail-In Ballot Request Provision, specifically allow the very thing that § 208 of

the VRA guarantees to voters.

       Plaintiffs fail to acknowledge that another provision of Florida law—section

101.051(3)—expressly authorizes voters who require assistance to choose their

preferred helper. Section 101.051(3) states that “[a]ny elector applying to cast a vote-

by-mail ballot,” “in any election, who requires assistance to vote by reason of blindness,

disability, or inability to read or write may request the assistance of some person of his

or her own choice, other than the elector’s employer, an agent of the employer, or an

officer or agent of his or her union, in casting his or her vote-by-mail ballot.” Fla. Stat.

§ 101.051(3) (emphasis added).

       To “apply” means “to make an appeal or request esp. in the form of a written

application.” Merriam-Webster’s Collegiate Dictionary at 60 (11th ed. 2005). Common

sense and context also makes clear that one must request and receive a ballot before

casting it; requesting and receiving are necessary pre-requisites to casting a vote-by-mail

ballot. See id. Section 101.051(3) thus allows a voter who needs assistance “in casting his

or her vote-by-mail ballot” to get assistance in requesting that ballot, see id.; that’s no
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different than § 208 of the VRA, which has nearly identical language, see 52 U.S.C.

§ 10508. Nor can supervisors of elections ignore section 101.051(3) when receiving

vote-by-mail requests by citing the Mail-In Ballot Request Provision. The rules of

statutory construction require that:

   • One reads statutes in pari materia and avoids constitutional issues. See, e.g., Porter
     v. Inv’rs Syndicate, 286 U.S. 461, 470 (1932); Cadle v. GEICO Gen. Ins. Co., 838 F.3d
     1113, 1126 n.12 (11th Cir. 2016).

   • A general prohibition can’t displace a specific authorization. See, e.g., NLRB v.
     SW Gen., Inc., 580 U.S. 288, 305 (2017); RadLAX Gateway Hotel, LLC v.
     Amalgamated Bank, 566 U.S. 639, 645 (2012).

       Here, the Mail-In Ballot Request Provision and section 101.051(3) both

concern vote-by-mail ballots—the same subject—and can be read in pari materia to

avoid a conflict: the former imposes a general restriction on who can request vote-by-

mail ballots and the latter carves an exception for those with disabilities, allowing them

to choose anyone other than their employer (or union official) to help. In this way, the

more general provision concerning vote-by-mail ballot requests also does not swallow

the more specific provision related to disabled voters. Such a reading avoids a

constitutional issue as well, namely preemption. And it’s consistent with the Florida

Legislature’s longstanding record of making voting-related accommodations for the

disabled, see, e.g., Fla. Stat. §§ 97.061, 101.051, 101.62(6), 101.655, 101.661, 101.662, and

it’s consistent with the Florida Legislature’s decision not to repeal or amend section

101.051(3) during the most recent legislative session.


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       Or consider a simpler explanation to avoid a conflict between federal and state

law. The assistance provision uses the word “assist.” The requesting provision uses the

word “request.” One can assist someone else request a ballot.

       Both Supervisor Earley and Supervisor Hays agree. Both supervisors (one called

by Plaintiffs and one by the Secretary) agreed that a volunteer can assist a disabled voter

in several ways. For example, a League volunteer—with the consent of a voter—can

drive the voter to a supervisor’s office so the voter can request a vote-by-mail ballot.

Or the volunteer—with consent—can dial the office so the voter can request a vote-

by-mail ballot. Or the volunteer—with consent—can fill out a vote-by-mail application

for a voter with a disability. Tr.797:13 – 799:12 (Earley); Tr.1825:22 – 1826:20 (Hays).

None of these actions, the supervisors opined, would violate federal or state law. The

key is simply maintaining the voter’s agency when requesting a vote-by-mail ballot.

                                      *      *      *

       For these reasons, the NAACP Plaintiffs’ claims fail. They aren’t entitled to their

requested relief. They haven’t established constitutional or statutory violations. As such,

they will not suffer irreparable harm, and the public interest and balance of hardships

tips in the State’s favor. Labrador v. Poe, 23A763, slip op. at *5 (Apr. 15, 2024) (Gorsuch,

J., concurring in grant of stay) (collecting cases). Nor are Plaintiffs entitled to fees,

should the State appeal any orders in this case and prevail. NAACP Br. at 152-53.

       Even if Plaintiffs prevail, Purcell bars them immediate relief: we are entering into

the Purcell window. League of Women Voters of Fla., 32 F.4th at 1371. After all, the
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Eleventh Circuit granted the State’s stay in the SB90 appeal on May 6, 2022. Just like

2022, 2024 is an election year; the only difference is that 2024 is a presidential election

year, with more voters registering to vote or changing their registration information.

PX78 (voter-registration table).



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              League of Women Voters of Florida v. Byrd , 4:23-cv-216

       The League Plaintiffs challenge four SB7050 provisions: (1) the Citizen

Restriction, (2) Retention Provision, (3) Fines Provision, and (4) Receipt

Provision.

I.     The League Plaintiffs Lack Standing.

       To establish standing, Plaintiffs put Cecile Scoon and Dr. Elliot on the stand.

Neither witness, however, established Plaintiffs’ standing to challenge the four

provisions.

       A.     No Standing to Challenge the Citizen Restriction.

       Plaintiffs don’t have standing to challenge the Citizen Restriction. League Br.

at 46-51. They don’t have associational standing. Just like their challenge to the Felon

Restriction, Plaintiffs failed to “identify a single” League “member” who’s a noncitizen

and would have “collected or handled voter registration applications in the past and

planned to do it now but for” the Citizen Restriction. Doc.95 at 10, 4:23-cv-216.

Plaintiffs only had to name one name. Ga. Republican Party, 888 F.3d at 1204. Yet neither

Ms. Scoon nor Dr. Elliot identified such a member. Plaintiffs simply don’t ask—and

make it a point not to ask—their members or volunteers about their citizenship status.

DX2 at 26-28 (League’s responses to requests for admissions); Tr.1272:25 - 1273:1

(Scoon); Tr.1274:7-9 (Scoon).

       Plaintiffs can’t assert organizational standing, either. Without identifying a single

affected noncitizen member, Plaintiffs’ time, discussion, and resource diversions are
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completely self-imposed harms. For example, Plaintiffs didn’t have to go to an online

voter-registration process, since it’s entirely speculative whether a noncitizen would

have actually collected or handled completed applications. Plaintiffs purported

diversions are nothing more than “a self-imposed injury based on the speculative fear

that they may become liable for violating” the Citizen Restriction. Doc.95 at 7, 4:23-cv-

216.

       B.     No Standing to Challenge the Retention Provision.

       Plaintiffs don’t have standing to challenge the Retention Provision, either.

League Br. at 31-39. As a reminder, the provision prevents a canvasser from copying or

retaining certain pieces of information from a filled-out voter-registration application.

Ms. Scoon and Dr. Elliot didn’t testify that the League previously violated, or will

violate, the Retention Provision. In fact, Ms. Scoon testified that she wasn’t aware of

“any League chapter” retaining “someone’s social security number or driver’s license

number when collecting applications.” Tr.1254:2-8. And when asked whether “League

members sometimes collect applicant’s name and contact information when registering

them to vote,” she responded that:

       Many of us have a process where we have a yellow pad, and there will be,
       like, a little sign that’s right beside of it, and it says: If you would like more
       information from the League, put your name here. And on our yellow pad would
       be some, maybe, lines drawn with a ruler that says “Name,” “Email,”
       “Phone Number,” “What is the issue you’re interested in?” “How do you
       want to be contacted?” or something like that. That was commonplace.
       But we basically wanted the individual to affirm with us that they wanted
       to be contacted. We wouldn’t just automatically send them notices or
       reminders or calls or anything like that. . . .
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       In fact, that yellow pad is where people often put Hey, I’d like to join the
       League. I’d like to come to a meeting. Can I come to a meeting before I decide? And
       we’d always say, Of course. You can come to as many meetings as you
       want to before you decide. And so that is the place where we probably get
       at least a quarter of our volunteers – future volunteers to join the League
       is when they leave information on that pad and we follow up with them.

Tr.1251:24 – 1252:24 (emphases in the original). In other words, voters themselves

provide their contact information on a yellow pad, separate and apart from a voter-

registration application. That’s not a situation where a League volunteer copies or

retains a social-security number from a filled-out voter-registration application. That’s

not a situation where the Retention Provision is triggered.

       Because no member has violated the Retention Provision or will violate it,

Plaintiffs lack associational standing to challenge it. Ga. Republican Party, 888 F.3d at

1204. And because it’s speculative whether Plaintiffs will violate the provision in the

future, Plaintiffs’ purported fears of future harm and diversion of resources—all to

combat a provision Plaintiffs have not, and likely will not, even violate—doesn’t

establish organizational harm. City of S. Miami, 65 F.4th at 640.

       C.     No Standing to Challenge the Fines Provision.

       Nor have Plaintiffs established standing to challenge the Fines Provision. They

needed to, but failed to, establish a “substantial likelihood that they will suffer a future

injury from the” Fines Provision—that they will turn in a voter-registration application

too late or to the wrong location, that they will be assessed fines, and that their fine

appeals will fail. Worthy, 930 F.3d at 1215-16; see also McGee, 727 F.3d at 1325.
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      If anything, Plaintiffs established that they aren’t likely to be fined in the future.

In fact, this “Court has” “already found that the League” “operate[s]” its “voter

registration programs with precision and care.” NAACP Br. at 24 n.3 (citing League of

Women Voters of Fla, 595 F. Supp. 3d at 1149-50). The last time Plaintiffs were fined was

back in 2016. DX2 at 18 (Plaintiffs’ responses to requests for admissions).

      Even so, Plaintiffs assert they have standing. They allege that the Fines

Provision will cause “League members” “to make more trips to county supervisors’

offices to ensure applications are timely submitted. Those trips will take more time and

will require local League leaders to spend more money on gas.” League Br. at 42

(citation omitted). They also state (in a footnote) that they “determined that sending the

applications by mail is not reliable or quick enough to meet the ten-day deadline,” and

if “volunteers did mail applications rather than deliver them personally, the League

would incur significant postage costs to ensure fast delivery.” League Br. at 42 n.13. But

during trial, Plaintiffs stated that they are no longer collecting completed applications,

and are now going to an “online” method of registering voters. Tr.1214:8-13 (Scoon);

Tr.1217:9-15 (Scoon). Their email to members made this point clear: “[w]e cannot take

possession of the completed forms.” PX786 at 2. Plaintiffs’ gas, time, and volunteer-

mailing expenditures therefore won’t happen. (Incidentally, the post-marked date is

what counts to ensure timely delivery of a mailed-in voter-registration application. See

Fla. Admin. R. 1S-2.042(5)(d).)



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       Again, swirling around resources, time, funds, and fear—all to combat a

provision Plaintiffs aren’t likely to violate—doesn’t establish organizational harm. City

of S. Miami, 65 F.4th at 640.

       D.     No Standing to Challenge the Receipt Provision.

       Plaintiffs also don’t have standing to challenge the Receipt Provision. For an

injury in fact, they only assert “subjective fear[s]” of harm if they comply with the

provision. Pittman v. Cole, 267 F.3d 1269, 1284 (11th Cir. 2001). The fear is based on a

chain of events: a voter must approach a volunteer, must fill out a voter-registration

application, must hand over the application to the volunteer, must receive a receipt

from the volunteer, and must use the information on the receipt to harass the volunteer.

While this tenuous chain of events may establish subjective fear, it doesn’t establish an

objectively reasonable fear of harm. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410

(2013).

       True, Ms. Scoon testified that, during voter-registration activities, two men

harassed her and her fellow League members. Tr.1234:2 – 1236:10. (The incident didn’t

involve a receipt.) And true, Dr. Elliot testified that she has been harassed while

registering people to vote “before SB 7050.” Tr.1350:3-15.

       This testimony only highlights that Plaintiffs lack standing. The harms they fear

stem from actions of unidentified third parties, not the Secretary, and enjoining the

Receipt Provision won’t prevent those third parties from generally harassing Plaintiffs.

This raises traceability and redressability issues. Lewis v. Governor of Ala., 944 F.3d 1287,
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1296 (11th Cir. 2019) (en banc); Cousins v. Sch. Bd. of Orange Cnty., 6:22-cv-1312, 2023

U.S. Dist. LEXIS 162782, at *38-39 (M.D. Fla. Aug. 16, 2023). Plus, if Plaintiffs want

to prevent canvassers from disclosing any personal information to a voter, enjoining

the Receipt Provision wouldn’t solve that problem, either: Plaintiffs still need to

comply with the unchallenged state rule that requires 3PVRO canvassers to initial voter-

registration applications. Fla. Admin. R. 1S-2.042(5). This raises yet another

redressability issue.

       Plaintiffs also toss out a fear that “the Office of Election Crimes and Security”

will “prosecut[e]” its members, but Plaintiffs haven’t established that the office is

responsible for enforcing the provision—or even that the office is likely to target

League members in any event. League Br. at 25. Plaintiffs’ fears remain speculative.

       Because a League member doesn’t have an objectively reasonable fear of harm,

associational standing isn’t met. And diverting time, resources, energy, and attention to

a statutory provision—that may not even cause harm to the League—doesn’t establish

organizational harm. That Plaintiffs continue to rely on objected-to hearsay, Tr.1352:7-

11, doesn’t bolster their arguments.

       Plaintiffs’ other arguments are equally unconvincing. They allege they have

standing because the Receipt Provision forces them to dedicate “one extra minute”

to fill out. League Br. at 24. How this “minute” harm rises to constitutional

dimensions—all to fill out a short governmental form—is unclear. Then Plaintiffs argue

that they are harmed, because they “will need to pay to print thousands of receipts and
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create receipt books to copy those receipts by ‘carbonless’ copy.” League Br. at 28. Yet

the Receipt Provision doesn’t bar online receipts, and the provision doesn’t require

carbonless copies.

        In short, Plaintiffs haven’t established standing to challenge the Receipt

Provision.

II.     Plaintiffs’ Claims Fail.

        Even assuming standing, Plaintiffs’ claims fail. Again, they contend that the

Citizen Restriction, Retention Provision, Fines Provision, and Receipt Provision

(1) infringe upon First Amendment free speech (Count I); (2) infringe upon First

Amendment free association (Count II); (3) are overly broad (except the Fines

Provision) (Count III); and (4) are vague (Count IV). Doc.1.

        A.     The Provisions Don’t Violate First Amendment Free Speech.

        The Secretary already provided his free-speech analysis in responding to the

NAACP Plaintiffs’ free-speech challenge to the Citizen Restriction, Retention

Provision, and Fines Provision. To make sure that this written closing isn’t over 500

pages, that analysis is incorporated and adopted here.

        The Secretary just adds the following. In their written closing, Plaintiffs state that

their political speech occurs, in part, “after collecting and handling voter registration

applications,” such as reminding voters of upcoming elections, giving them political

literature, and informing them of upcoming debates. League Br. at 58. But note that

this speech doesn’t accompany collecting and handling and delivering voter-registration
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applications—moving them from Point A to Point B. Like the NAACP Plaintiffs, the

League Plaintiffs are just conflating speech and non-speech activities together and calling

it all speech.

       Plaintiffs still contend that Meyer and Buckley are on point. Plaintiffs argue that in

the cases, it “made no difference that circulators were not directly barred from speaking.

Nor should it here.” League Br. at 60. That’s not quite right. In Meyer, for example, paid

circulators were prevented from speaking—from circulating a petition. 486 U.S. at 424.

So in that case, speech was barred in a very literal sense. That’s not this case, though.

       Plaintiffs then contend that collecting and handling physical, completed voter-

registration applications is the “most effective, fundamental, and perhaps economical

avenue of political discourse for advocating their political beliefs.” League Br. at 63.

Again, that’s not quite right. Advocacy isn’t effected in the slightest by the challenged

provisions. Certain conduct is.

       Plaintiffs also raise a viewpoint-based argument, League Br. at 68, but this

argument fails, given that all of the challenged provisions regulate conduct, including

the Receipt Provision, not speech.

       That said, the Secretary now addresses Plaintiffs’ free-speech challenge to the

Receipt Provision.

       1. The challenge doesn’t work, principally because the provision regulates

conduct, not speech. There are no constitutional rights linked to the completion of this

government form. Filling out an applicant’s name, party affiliation, county of residence,
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collection date, 3PVRO number, and canvasser name requires no speech at all. DX12

(receipt form).

      2. Plaintiffs contend that canvassers wouldn’t register people to vote if they were

required to disclose personal information. Plaintiffs’ point is a bit incongruitous.

According to them, they are engaging in constitutionally protected activity when a voter

gives them a form with her name, address, drivers license number, social-security

number, and signature. Yet Plaintiffs also claim that they are constitutionally harmed

when they have to give personal information over to the voter.

      Plaintiffs’ point is also wrong. Trial evidence demonstrates that canvassers aren’t

afraid to give voters personal information. Far from it:

    • Mr. Orjuela: “First I greet them. I introduce myself.” Tr.155:23 – 156:4;
      Tr.166:8-10.

    • Ms. Sanchez: “I introduce myself. We normally wear a T-shirt with the logo and
      ID badge with a photograph – the logo of the organization. And I give my
      personal introduction: Hello, my name is Esperanza Sanchez.” Tr.189:19 –
      190:3.

    • Ms. Herrera-Lucha: she “introduce[s]” herself “and give[s]” her “name.”
      Tr.416:15-16.

    • Ms. Pico: “I would greet them, introduce myself on my own behalf and on
      behalf of the organization that I was representing.” Tr.429:9-21. “I say, My name
      is Elizabeth Pico, and I work for the Mi Vecino organization. . . . I am working
      with the community, and they have to know who they are speaking to. And just
      like I did right here, I introduced myself: My name is Maria Elizabeth Pico.”
      Tr.445:8-18.

    • Ms. Martinez: when canvassing, she wears “my uniform T-shirt with the Mi
      Vecino logo,” along with a “picture ID.” Tr.514:2-6.

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       Apparently, only League volunteers are hesitant to give out their names. But this

isn’t true, either. Even Ms. Scoon would provide her name to voters, if asked.

Tr.1291:24 – 1292:1. When she engages in other civic duties, she often provides her

name, such as when she filled out a speaker card and spoke in opposition to SB7050

before the Florida Legislature. Tr.1293:2-11. Dr. Elliot, for her part, has her name

displayed on the League’s website. Tr.1371:15-23. There’s no risk of chilling here.

       And this doesn’t even include the fact that canvassers must initial voter-

registration applications by rule. Fla. Admin. R. 1S-2.042(5). Other 3PVROs even

internally adopt that rule. Tr.727:5-12 (Herrera-Lucha). This completely undermines

any argument that providing identifying information in writing (as opposed to orally)

would lead to a greater chill on canvassing activities. Again, to the extent that Plaintiffs

seek to prevent canvassers from disclosing any personal information, enjoining the

Receipt Provision wouldn’t remedy that.

       Regardless, Plaintiffs point to Buckley v. American Constitutional Law Foundation, 525

U.S. at 182, and compare the “identification badge” requirement for “petition

circulators” in that case with the Receipt Provision here. Id. at 197-98. The comparison

is inapt. While the U.S. Supreme Court found that badge requirement unconstitutional,

it did so based on the “[e]vidence presented to the District Court.” Id. The evidence

established that the badge requirement “inhibit[ed] participation in the petitioning

process.” Id.

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       That’s not so in this case. Evidence tilts decidedly in the other direction. While

the Receipt Provision “compels personal name identification at the precise moment

when” a canvasser’s “interest in anonymity is greatest,” id. at 199, canvassers in this case

have shown no such interest in anonymity. They actually freely and voluntarily give their

names to voters. Noncitizen canvassers have testified to that effect, and in the Hispanic

Federation case, they have also raised confidentiality and privacy interests in their

noncitizen status. Doc.33 (motion to proceed anonymously), Doc.142 (motion to

exclude evidence regarding noncitizen status), 4:23-cv-218. Yet they provide their

names to voters, nonetheless.

       The Receipt Provision also has more of a law-enforcement component than

the Buckley badge requirement. A voter might glimpse at a canvasser’s badge, but the

Receipt Provision provides a voter with a physical document, one that lists the date

of collection, canvasser name, and 3PVRO identification number, among other details.

According to both Assistant State Attorney Van der Giesen and State Attorney Fox, a

receipt could provide an extremely helpful lead to investigate 3PVRO misconduct.

Tr.1732:8 – 1734:10 (Van der Giesen); Tr.1768:4-7 (Van der Giesen); Tr.1795:5-24

(Fox). This is especially true, considering that 3PVROs may not keep well-maintained

records, Tr.1730:24 – 1731:8 (Van der Giesen), and given that 3PVROs hire canvassing

companies and sub-canvassing companies, Tr.1731:15 – 1732:6 (Van der Giesen). That

makes identifying a particular canvasser extremely difficult. A receipt can help.



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       The provision—most importantly of all—empowers the voter herself and gives

her information needed to ensure that her voter-registration application is submitted

on time and ensure that she can vote in the upcoming election. That’s a weighty

consideration.

       Not content, Plaintiffs claim that the initialing requirement is good enough.

League Br. at 74, 76-77. Initialing is good, but providing names is better. Case in point:

an attorney in these SB7050 cases initials a document “MJ.” Based on that, it’s unclear

who that attorney is. It could be NAACP Plaintiffs’ Mindy Johnson, or the Secretary’s

Mohammad Jazil. There are several differences between the two attorneys. And given

the size of a statewide organization like the League, and given its large membership and

volunteer base, names are a better identifier than initialing.

       What’s more, Plaintiffs then pull out every argument as to why a receipt wouldn’t

be beneficial to law enforcement and 3PVROs. League Br. at 74-77. They even argue

that it wouldn’t prevent fraudsters from committing fraud, because fraudsters are

simply going to commit fraud. League Br. at 76. Yet the commonsense fact remains:

that providing a potential lead, when mistakes and voter disenfranchisement has

happened, is better than having fewer leads. Tr.1732:4 – 1734:10 (Van der Giesen).

       3. All told, the Receipt Provision regulates conduct, not speech. Even if it

regulates speech (which it doesn’t), it would satisfy any level of constitutional scrutiny.

Strict scrutiny would be met, because the provision deters fraud and ensures election

integrity, compelling governmental interests. Purcell, 549 U.S. at 4; PX139 at 6-7
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(Darlington declaration). It also doesn’t require disclosure of more information than is

necessary. And Plaintiffs remain free to help voters register, without engaging in the

conduct that would trigger the Receipt Provision (taking physical possession of a

voter-registration application for delivery). The League’s iPad-registration method

doesn’t trigger the provision; the iPad method isn’t 3PVRO activity. E.g., PX780

(whitepaper).

      Anderson-Burdick would also be satisfied. Plaintiffs put on no evidence—other

than anecdotal evidence and speculation—that the Receipt Provision would deter

canvassers from registering people to vote, which would then reduce the amount of

voters registering to vote at all. That makes Plaintiffs’ burden nil. And weighed against

the State’s compelling interests, the Receipt Provision satisfies the balancing test.

      Rational basis is satisfied, too. There’s a reasonable justification for the provision,

and Plaintiffs can’t negative every conceivable justification of the provision.

      As such, the Receipt Provision, coupled with the Citizen Restriction,

Retention Provision, and Fines Provision, is constitutional.

      B.        The Citizen Restriction, Retention Provision, Fines
                Provision, and Receipt Provision Don’t Violate First
                Amendment Free Association.

      In responding to the NAACP Plaintiffs’ free-association challenge, the Secretary

explained why the Citizen Restriction, Retention Provision, and Fines Provision

comply with First Amendment free association. He incorporates and adopts those

arguments here.
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      The only difference in the League case is the challenge to the Receipt Provision.

It doesn’t change the analysis or the conclusion. The provision doesn’t bar Plaintiffs

from associating with anyone. Any canvasser can have any conversation with any voter,

volunteer, or member, and anyone can become a member of the League. To the extent

that the provision would prevent volunteers from canvassing—for fear of revealing

identifying, written-down information—those volunteers weren’t likely to canvass in

the first place, given that volunteers must initial voter-registration applications. Fla.

Admin. R. 1S-2.042(5).

      C.     The Citizen Restriction, Retention Provision, and Receipt
             Provision Aren’t Overly Broad Under the First Amendment.

      Plaintiffs contend that the Citizen Restriction, Retention Provision, and

Receipt Provision are overly broad. In the NAACP case, the Secretary explained why

the first two provisions aren’t overly broad. He incorporates and adopts those

arguments here.

      The Receipt Provision isn’t overly broad, either. There’s no speech involved in

the activity—giving an administrative document to a voter—so Plaintiffs can’t make

out an overbreadth challenge. And even with the Receipt Provision, Plaintiffs can still

go into the same communities, still engage in the same conversations, and still try to

register people to vote. The only difference is that a canvasser must provide a voter

with a document. In arguing against this, Plaintiffs trot out the same arguments against




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the Receipt Provision, but those arguments don’t get Plaintiffs far. League Br. at 113-

15.

        D.    The Provisions Aren’t Vague Under the Fourteenth
              Amendment.

        Finally, Plaintiffs contend that the Citizen Restriction, Retention Provision,

Fines Provision, and Receipt Provision are vague. In the NAACP case, the Secretary

explained why the first two provisions aren’t vague. He incorporates and adopts those

arguments here. The Receipt Provision and the Fines Provision aren’t vague, either.

In fact, they are pretty easy to understand.

        The Receipt Provision requires a 3PVRO to give a voter “a receipt,” DX12,

which is prescribed by “rule,” “upon accepting possession of his or her application.”

Easy. The receipt is easy to fill out as well. It only requires the name of the voter, her

political party, county of residence, the date the application was collected, the 3PVRO

identification number, and the name of the registration agent. DX12. Out of those six

requirements, five are already on the voter-registration application. (On the application,

the voter fills out her name, party, county, and date; the application form also has the

3PVRO’s number on it. Fla. Admin. R. 1S-2.042(5).)

        Contrary to Plaintiffs’ position, the information contained on a receipt isn’t

information that’s protected under the Retention Provision. League Br. at 101. And

though Plaintiffs throw out hypothetical (what happens if a voter doesn’t accept a

receipt, League Br. at 101), after hypothetical (what happens if a receipt isn’t provided,


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League Br. at 102), the vagueness test isn’t death by a thousand hypotheticals. Plaintiffs’

concerns—if they actually manifest—are better served by an as-applied challenge, not

a facial one. Or even an advisory opinion from the Division of Elections.

       The Fines Provision also isn’t vague. It clearly states when an application should

be submitted (10 days) and where (voter’s county of residence or the safe harbor Division

of Elections). Easy again. Yet Plaintiffs claim difficulty. They complain about what’s

“willful” conduct under the provision. League Br. at 104. Putting aside that SB7050

didn’t add this standard to the election code, Plaintiffs need only consult state case law

to find out what “willful” means. See generally Jones v. Hammock, 179 So. 674, 676 (Fla.

1937) (providing one definition). And Plaintiffs raise additional hypothetical (can a

3PVRO be fined for willful and non-willful conduct at the same time, League Br. at

105), after hypothetical (what happens if a 3PVRO commits multiple errors, League Br.

at 105), these concerns are better served by an as-applied challenge. Or an advisory

opinion from the Division of Elections.

                                      *      *      *

       For these reasons, the League Plaintiffs’ claims fail.



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                       Hispanic Federation v. Byrd , 4:23-cv-218

        The Hispanic Federation Plaintiffs only challenge the Citizen Restriction.

I.      The Hispanic Federation Plaintiffs’ Standing.

        One of the canvasser-Plaintiffs may have standing to challenge the provision.

But this Court should still satisfy itself that Plaintiffs have standing. Bischoff, 222 F.3d at

877-78.

II.     Plaintiffs’ Claims Fail.

        The Hispanic Federation Plaintiffs claim that the Citizen Restriction (1) infringes

upon First Amendment free speech and free association (Count I); (2) is overly broad

(Count II); (3) burdens political speech and association “in connection with the

fundamental right to vote” (Count III); and (4) is vague (Count IV). Doc.79.

        A.    The Citizen          Restriction     Doesn’t     Violate     the    First
              Amendment.

        In responding to the NAACP Plaintiffs’ free-speech and free-association

challenges, the Secretary explained why the Citizen Restriction complies with the First

Amendment. He incorporates and adopts those arguments here.

        A few additional points. Plaintiffs describe the Citizen Restriction as a

“speaker-based restriction.” Hispanic Federation Br. at 74. The description is faulty.

Again, the provision regulates conduct, not speech. Again, the provision isn’t

preventing any noncitizen from speaking to anyone.




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        Plaintiffs also contend that, because noncitizens are employed as state

employees, and because state employees review sensitive documents, noncitizen

canvassers should collect and handle completed voter-registration applications.

Hispanic Federation Br. at 76-77. While noncitizens are state employees, they undergo

background checks. E.g., 1768:8-15 (Van der Giesen). This fact was even noted on the

floor of the Florida Legislature. E.g., PX252 20:5-16 (Burgess); PX254 11:11-19

(McClure). Many 3PVROs don’t conduct background checks. Tr.1157:23-25 (Slater).

        B.    The Citizen Restriction Isn’t Overly Broad Under the First
              Amendment.

        Plaintiffs contend that the Citizen Restriction is overly broad. In the NAACP

case, the Secretary explained why it isn’t. He incorporates and adopts those arguments

here.

        Two additional points. First, Plaintiffs contend that the provision may prevent

handing out blank voter-registration applications. Hispanic Federation Br. at 115. This

isn’t true. The Citizen Restriction applies to 3PVRO activity, and 3PVRO activity

doesn’t include handing out blank applications. The State has been clear on this point:

        Printing and/or distributing blank voter registration applications or
        helping a person complete an online application form through Florida’s
        official online voter registration system (RegistertoVoteFlorida.gov) or an
        online fillable form without collecting the completed applications does not
        trigger 3PVRO status.

PX780 (whitepaper).




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          Second, to the extent that Plaintiffs are unsure about any “knowledge element” in

the Citizen Provision, see Hispanic Federation Br. at 117, they can still have their

canvassers complete an affirmation form, which prevents 3PVROs from being liable

under the provision. DX11 (form).

          C.     The Citizen Restriction Doesn’t Violate the Right to Vote.

          Next, Plaintiffs contend that the Citizen Restriction violates the right to vote.

Plaintiffs aren’t right. The provision regulates 3PVROs, and doesn’t directly touch

voters. Plus, Plaintiffs haven’t established that because of the Citizen Restriction,

voters won’t use other means to register to vote, and therefore won’t register and vote

at all.

          What’s more, it’s not clear that Plaintiffs can even make this claim. They are

either noncitizen canvassers, who can’t vote, 3PVROs, who can’t vote, or a citizen

canvasser, who isn’t affected by the Citizen Restriction.

          D.     The Citizen Restriction Isn’t Vague Under the Fourteenth
                 Amendment.

          Plaintiffs contend that the Citizen Restriction is vague. In the NAACP case,

the Secretary explained why it isn’t. He therefore incorporates and adopts those

arguments here.

                                         *       *      *

          For these reasons, the Hispanic Federation Plaintiffs’ claims fail.




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                                     Conclusion

       For these reasons, this Court should reject Plaintiffs’ claims and enter judgment

in the Secretary’s favor.




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Dated: April 29, 2024                  Respectfully submitted,

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